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    IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                    DISTRICT OF MICHIGAN


ANESTHESIA ASSOCIATES OF ANN
ARBOR, PLLC,

                  Plaintiff,
                                           Civil Action No. 2:20-cv-12916
      -against-
                                           Hon. Terrence G. Berg
BLUE CROSS BLUE SHIELD OF
MICHIGAN,                                  Mag. Anthony P. Patti

                  Defendant.




                               AMENDED COMPLAINT
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      Pursuant to the Court’s Order, ECF 52 (Sept. 28, 2022), granting in part

Plaintiff’s motion to file the Proposed Amended Complaint of October 15, 2021,

ECF 43-2, and without waiver of the claims dismissed by the Court, Plaintiff

Anesthesia Associates of Ann Arbor, PLLC, by and through its undersigned

attorneys, alleges as follows, upon personal knowledge as to its own acts and status

and upon information and belief as to all other matters, for its Amended Complaint

against Defendant Blue Cross Blue Shield of Michigan:

                           NATURE OF THE ACTION
      1.     This action arises from a scheme by Defendant Blue Cross Blue

Shield of Michigan (“BCBSM”) to monopsonize the market for buying

anesthesiology services in Michigan and to commit tortious acts. Defendant’s

illegal actions include:

      (a) a horizontal market-allocation, price-fixing, and boycott conspiracy with

      other Blue Cross Blue Shield insurers to divide the markets for health

      insurance in the United States and to fix the prices paid to providers of

      medical services, including anesthesiology services. As a result, BCBSM is

      insulated in Michigan from competition from other Blue Cross Blue Shield

      health insurers that would otherwise enter the Michigan markets; and
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      (b) tortious acts, including interference with contract, to retaliate against any

      anesthesiologists that attempt to leave BCBSM’s network to work with

      BCBSM’s competitors’ networks instead of BCBSM.

      2.     Through these actions, BCBSM has succeeded in requiring

anesthesiologists in Michigan to accept its below-competitive rate, what BCBSM

calls its “uniform Blue Cross contracted payment” for anesthesiology services. By

imposing a uniform and below-competitive rate across all anesthesiologists in

Michigan, BCBSM has driven doctors from the state (and kept doctors from

entering), resulting in a current shortage of almost one-hundred anesthesiologists in

Michigan. This shortage is causing hospitals to close operating rooms for lack of

anesthesiologists, which in turn forces patients to delay receiving treatment while

they find alternate (and less convenient) sites of care, during which time their

conditions may worsen.

      3.     BCBSM’s action have also driven down the quality of anesthesiology

services in the state (as high-quality anesthesiologists leave), meaning that even

where a patient’s surgeon believes that high-quality anesthesiology care is

necessary or important, that option may not be available.

      4.     Moreover, BCBSM’s uniform, below-competitive rate, together with

the anesthesiologist shortage it caused, have led to a situation where doctors are




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having to oversee more anesthetizing locations concurrently than in years past.1

Today, anesthesiologists in many hospitals in Michigan are regularly working at a

4-to-1 staffing ratio, meaning that they are responsible for providing medical

directions for clinical registered nurse anesthetists (“CRNAs”) in four different

operating rooms (or other anesthetizing locations) concurrently. Due to BCBSM’s

actions, that staffing ratio has increased over the last decade, where previously

anesthesiologists at many hospitals in Michigan regularly worked at a 3-to-1 ratio

or lower.

      5.     BCBSM is aware of the harms it is causing. In Fall 2020, BCBSM

had a call with the Michigan Society of Anesthesiologists, with representatives

from multiple anesthesiology groups in Michigan joining. On the call, those

anesthesiology groups confirmed that BCBSM’s rate was: causing

anesthesiologists to leave the state; hampering efforts to recruit anesthesiologists

into Michigan; and forcing the remaining doctors to work longer hours and at

higher staffing-ratios. At the meeting BCBSM admitted that its anesthesiology

rate was low and needed to come up, but as of 2021, the rate remains one of the

lowest in the nation.




1
 Anesthetizing locations include operating rooms, procedure rooms, and delivery
rooms.

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      6.     While BCBSM benefits from reducing its purchases of anesthesiology

services, and the amount it pays for those services, the costs of BCBSM’s actions

are imposed not only on anesthesiologists but also on Michigan consumers through

fewer and lower-quality anesthesiologists in the state. Because high-quality

anesthesiology can be central to a patient obtaining a good surgical outcome,

patients or their surgeons often seek out high-quality anesthesiologists. For

patients in Michigan, that option is limited and at risk of disappearing.

      7.     Because Michigan anesthesiologists’ only choices, as a practical

matter, are to accept BCBSM’s reimbursement rate or to leave the state and

practice elsewhere, many have chosen to depart (or not enter) the state, leaving

Michigan, as of April 2021, with nearly one-hundred unfilled anesthesiology

positions. This lack of anesthesiologists has reduced the overall supply of

anesthesiology services in Michigan available to patients, as demonstrated by the

fact that hospitals have been forced to close surgery departments for lack of

qualified anesthesiologists to staff them. Despite there being so many open

positions available for anesthesiologists in Michigan, the majority of the University

of Michigan’s anesthesiology graduates leave the state to work elsewhere, rather

than work in Michigan at BCBSM’s suppressed, below-competitive rate.

      8.     When these doctors leave the state, they are also unavailable to serve

patients insured by BCBSM’s competitors. Thus, Michigan consumers are harmed


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by a reduction in anesthesiology care regardless of their health insurance carrier.

BCBSM is therefore able to impose supracompetitive rates on consumers for

health insurance, despite decreasing the quality of its offering to consumers,

leading to higher quality-adjusted prices for insurance coverage and, by extension,

higher quality-adjusted prices for anesthesiology care. The price of anesthesiology

care for consumers takes into account both health insurance premiums (which the

consumers pays for coverage of medical treatments, including anesthesiology care)

and out-of-pocket costs, including co-payment (a fixed payment, set by the insurer,

which the patient pays per treatment), co-insurance (a percentage, set by the

insurer, of the fee for a treatment that the patient pays), and deductible, or some

mix of those three (for example, a subscriber may be on a plan where there is a co-

payment for anesthesiology services, but no co-insurance charge).

      9.     These reductions in quantity and quality as well as the increase in

quality-adjusted prices constitute the classic harms to competition of monopsony:

with reduced prices for inputs comes reduced purchases of inputs and, as a result,

reduced output, leading to deadweight harm to both producers and consumers.

      10.    As a seller of anesthesiology services that has invested heavily in

delivering high-quality care to patients, Plaintiff Anesthesia Associates of Ann

Arbor, PLLC (“A4”) is a direct victim, in fact the most direct victim, of BCBSM’s

anticompetitive conduct. For years, A4 has been forced to accept BCBSM’s below


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 competitive rate, and in 2019, when A4 attempted to reject that rate, BCBSM

 threatened to, and did, steer work away from the hospitals where A4 practiced until

 those hospitals forced A4 to accept BCBSM’s uniform reimbursement rate.

               Illegally Acquired Monopsony Power Distorts Markets and
               Harms Consumers.

       11.     Monopsony refers to market power on the buy-side of a market. In

 1948, the Supreme Court confirmed that conspiracies to create monopsony power

 are “the sort of combination condemned by the [Sherman] Act . . . and the persons

 specially injured under the treble damages claim are sellers, not customers or

 consumers.” Mandeville Island Farms v. Am. Crystal Sugar Co., 334 U.S. 219,

 235 (1948). Although conspiracies to monoposonize and to monopolize are both

 illegal, when assessing a monopsony claim under the antitrust laws, the “factors

 are reversed” from what they would be in a traditional monopoly claim. Roger D.

 Blair & Jeffrey L. Harrison, Antitrust Law & Monopsony, 76 Cornell L. Rev. 297,

 324 (1991).

       12.     First, when assessing monopsony claims “the market is not the market

 of competing sellers”—as it would be in a monopoly claim—“but of competing

 buyers. This market is comprised of buyers who are seen by sellers as being

 reasonably good substitutes.” Id.

       13.     Second, while a monopolist decreases the supply of outputs (by

 selling less) and increases the prices at which it sells those outputs to consumers, a


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 monopsonist instead decreases the demand for inputs (by buying less) and

 decreases the prices at which it buys inputs. Id. Just as an illegal monopoly is

 distinguished from a competitive market by the fact that it reduces output supply,

 an illegal monopsony is distinguished by the fact that it reduces input purchases.

 Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust

 Principles & Their Application § 575 (4th ed.). While a legitimate buyer will seek

 to reduce its purchase prices so that it can buy more (and in turn sell more to its

 customers), a monopsonist will reduce its purchase prices and buy less. Id. Just as

 monopoly distorts the supply of outputs, monopsony distorts the supply of inputs,

 leading to a mismatch between consumer demand and the inputs necessary to meet

 that demand, thereby reducing consumer welfare. Blair & Harrison, 76 Cornell L.

 Rev. at 316.

       14.      Third, and following from the above, the direct victims of monopsony

 and monopoly are different. When a wholesale seller conspires with downstream

 firms to fix retail prices, the direct victims are consumers at the retail level, and

 competing sellers must make an additional showing to establish standing. By

 contrast, if that wholesale seller conspires to fix the prices at which it purchases

 raw materials or inputs, the “most direct victims” of that monopsony are “the

 sellers” who “suffer a loss in revenue due to the decreased price.” Blair &

 Harrison, 76 Cornell L. Rev. at 316. While consumers—ultimately—also suffer a


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 “distinct” harm from the “restrictions in output” caused by monopsony, they are

 not the most direct victim; rather, the sellers (here: anesthesiologists) are the most

 direct victim. Id.

       15.    However, when an entity possesses both monopsony and monopoly

 power, both sellers and consumers can suffer direct and distinct injuries. On the

 monopsony side, the entity pays below competitive prices for inputs and decreases

 the amount that it purchases. Because it is purchasing fewer inputs, it also creates

 fewer outputs. Then, as a monopolist, it uses that restriction in the supply of

 outputs to sell to consumers at higher prices, thereby harming consumers directly

 as well as sellers. These actions lead to deadweight economic harm on both the

 input and output sides, as prices and the quantity/quality of services are distorted

 from competitive levels.

       16.    For example, a television network could possess both (a) monopsony

 power in market for buying television programming and (b) monopoly power in

 the market for broadcasting television programs to consumer subscribers. As a

 monopsonist, that network can pay less for television programming and in turn buy

 fewer television programs than it would in a competitive market (for example, it

 will purchase ten shows instead of twenty); in turn, on the monopoly side, the

 network will offer fewer television programs to its subscribers (ten shows instead

 of twenty), thus reducing the amount of programming that it sells while also


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 maintaining supracompetitive prices. Even if the network does not increase prices

 to consumers but instead keeps them the same as when more programs were

 offered, the price per program will still go up (as there are now fewer programs),

 leading to higher quality-adjusted prices for consumers.

       17.    As another example, a cellular service provider that possesses both

 monopsony and monopoly power can, as a monopsonist, pay less for, and buy less,

 thus resulting in lower quality cellular service (e.g., lower speeds and worse

 geographic coverage). On the monopoly side, the cellular provider will offer

 consumers a less robust cellular network while charging them the same or more,

 thus increasing quality-adjusted prices.

       18.    As explained further below, BCBSM has created the same types of

 distortions (a) as a monopsonist in the market for purchasing anesthesiology

 services and (b) as a monopolist in the market for selling health insurance to

 consumers.

       19.    The market for purchasing anesthesiology services in Michigan is

 made up of commercial health insurers (i.e., insurers other than Medicare,

 Medicaid, or other government health-coverage programs) who compete to have

 anesthesiology providers serve their subscribers.2 An anesthesiologist keeps



 2
  While Medicare and Medicaid do not compete in this market, they are not
 immune from the cross effects of BCBSM’s anticompetitive actions. For example,

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 patients alive and in comfort while they undergo medical procedures—from

 childbirth to orthopedic surgery to heart transplants to the intubations that have

 become increasingly necessary during the COVID-19 pandemic.

       20.    Given the high-stakes involved in anesthesiology and the hands-on

 doctor-patient relationship that it entails, it has long been recognized that patients

 or their surgeons differentiate between anesthesiologists based on quality. See,

 e.g., Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 22-23 & nn.34, 39

 (1984), abrogated on other grounds by Illinois Tool Works Inc. v. Indep. Ink, Inc.,

 547 U.S. 28 (2006). From patients’ perspective, anesthesiology services are not

 fungible or commodified. Instead patients or their surgeons seek to work with

 anesthesiologists that can provide the care necessary to increase the chances of a

 good outcome. Id. As a result, patients will seek (or defer to their surgeons’

 decisions to seek) higher-quality anesthesiologists, even if doing so entails

 increased costs.

       21.    As surgeons often have privileges at multiple hospitals, they can and

 do choose where to perform surgery on a patient based on where they obtain high-

 quality anesthesiology services. For example, Beaumont, a Michigan hospital

 chain, recently ceased working with A4 as well as another anesthesiology provider,



 senior citizens on Medicare in Michigan are harmed by the lower number and
 quality of anesthesiologists in Michigan.

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 North American Partners in Anesthesia (“NAPA”), as a result of BCBSM’s illegal

 actions. After these staffing changes, Beaumont surgeons are increasingly shifting

 operations to Trinity Health Michigan (“Trinity”), a hospital system where A4 still

 works—albeit at a reduced capacity due to BCBSM’s illegal actions.3 Despite the

 potential costs and inconveniences of going to Trinity rather than Beaumont (e.g.,

 if a patient lives closer to Beaumont than Trinity), patients are accepting their

 surgeons’ decisions so that the surgeons could work with their preferred

 anesthesiologists. As the types of procedures that are most lucrative for

 hospitals—such as complex cardiac surgery—generally require highly-trained and

 skilled anesthesia providers, hospitals have a strong incentive to keep the quality of

 their medical staff (including anesthesia providers) high, lest they lose patients to

 hospitals where surgeons can choose from a more robust selection of

 anesthesiologists. For example, it has been reported that up to 80% of hospital

 revenue is derived from orthopedic and cardiac procedures.

       22.    Patients’ and their surgeons’ desire for access to high-quality

 anesthesiology care also in turn drives (absent conspiracy or monopsony)

 competition among health insurance providers. Absent conspiracy or monopsony,



 3
  Eric Starkman, Bailing Out at Beaumont – 2 More Top Execs Bid Bye-Bye to
 CEO John Fox, Deadline Detroit (May 26, 2021),
 https://www.deadlinedetroit.com/articles/28082/starkman_bailing_out_at_beaumo
 nt_--_2_more_top_execs_bid_bye-bye_to_ceo_john_fox.

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 if an insurer cannot attract a sufficient number and quality of doctors to its

 network, its insurance offerings will be less competitive and it will have to charge

 less than its peers. Thus, the demand for high-quality health care (including

 anesthesiology services) drives competition among insurers. Health insurers

 engage in this competition by working to entice anesthesiologists to join their

 networks, a process referred to as “participating” or going “in-network.” When a

 provider goes in-network, that provider is agreeing to serve the insurer’s

 subscribers on pre-determined terms.

       23.    One of the key terms that is agreed between an anesthesiologist and an

 insurer as part of an anesthesiologist going in-network is the anesthesiologist’s

 “conversion factor,” which is a variable that feeds into how anesthesiology fees are

 calculated. Conversion factors vary based on the cost and quality of care, with

 higher-quality anesthesiologists commanding higher conversion factors to go in-

 network. Thus, insurers that wish to offer in-network access to higher-quality

 anesthesiologists desired by many patients (or their surgeons) must be willing to

 pay a higher conversion factor to those anesthesiologists to bring them in-network.

              BCBSM Enters into a Conspiracy to Monopsonize with Other
              Blue Cross Blue Shield Insurers.
       24.    BCBSM, however, is party to a horizontal conspiracy with other Blue

 Cross Blue Shield insurers to divide the United States into separate fiefdoms in

 which the conspirators will not compete with each other. This conspiracy


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 developed through communications involving BCBSM and other Blue Cross Blue

 Shield insurers (collectively, “Blues”), dating back at least to the 1980s, when the

 Blues created mandates that became known as the “Long-Term Business Strategy.”

 This strategy was referred to at a Blue Cross Blue Shield Annual Meeting as a

 change that would lead to “concentration of power.” Consistent with this strategy,

 in 1990, the Blues (including BCBSM) began a policy of limiting competition by

 requiring the Blues (including BCBSM) to adhere to exclusive service areas as part

 of licensing the Blue Cross Blue Shield branding. The conspiracy further

 developed through discussions involving BCBSM and the Blues in June 2013. The

 conspiracy is currently memorialized in a so-called “amended license agreement”

 pursuant to which all of the Blues agree to multiple anticompetitive restraints.

       25.    The “amended license agreement” divides the country into geographic

 markets, referred to as service areas, in which BCBSM and the other Blues will not

 compete with each other. These competition restrictions go far beyond a simple

 licensing arrangement: the restrictions also limit the ability of the conspirators to

 compete with each other using non-Blue Cross Blue Shield branded insurance

 products. Pursuant to this conspiracy, BCBSM can operate in Michigan essentially

 free from competition from the other Blues, and they in turn can operate in their

 territories relatively free from competition by BCBSM. This horizontal conspiracy

 also requires BCBSM and the other Blues to restrict the amount of revenue


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 generated by their non-Blue subsidiaries. This output restriction thereby ensures

 that the Blues do not circumvent the geographic restrictions by competing under

 other brand names.

       26.    In addition, the “amended license agreement” requires the Blues, and

 BCBSM, to participate in the BlueCard program, a method by which the Blues fix

 prices and boycott healthcare providers outside of their respective service areas.

 Under the BlueCard program, if A4 provides medically necessary care to someone

 insured by the Blues in Wisconsin, Ohio, or Florida, for example, A4 cannot enter

 into a direct agreement with those insurers. Instead, A4 must submit the charges to

 BCBSM and accept BCBSM’s rates. This price fixing and boycott conspiracy

 further allows BCBSM to keep its provider reimbursements low, without having to

 worry about competition.

       27.    Since 2013, BCBSM and its co-conspirators have continued to take

 overt acts to further their horizontal conspiracy, including paying A4 at below-

 competitive prices.

              After A4 Attempts to Leave BCBSM’s Network, BCBSM
              Undertakes a Campaign of Tortious Interference and Duress
              Against A4.

       28.    In April 2019, A4 told BCBSM that it could not continue to accept

 BCBSM’s artificially low rate. A4 explained to BCBSM, and the hospitals where

 it provided services, that A4 would continue to treat BCBSM’s subscribers, and



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 would not bill those patients any differently than it had before, but that A4 would

 not stay in BCBSM’s network unless BCBSM paid a competitive rate. From the

 perspective of consumers, this meant no change.

       29.    BCBSM retaliated by threatening to boycott the hospitals and medical

 facilities where A4 provided anesthesia services, unless those facilities in turn

 boycotted A4 and/or forced A4 to comply with BCBSM’s demands.

       30.    On April 22, 2019, A4 learned of BCBSM’s actions from one of A4’s

 longtime partners, Trinity. The news came from Trinity’s chief executive officer

 for its Michigan hospitals, Rob Casalou, who also sits on BCBSM’s board of

 directors. Casalou wrote that he “spoke to BCBSM last Wednesday about” A4

 possibly leaving BCBSM’s network. BCBSM, he warned, was threatening “to

 steer work away from facilities with A4,” i.e., the medical facilities, including

 Trinity’s hospitals, where A4 performs procedures. (Emphasis added.)

       31.    Casalou explained that Trinity took BCBSM’s boycott threat

 seriously. “BCBSM has a reputation for being the most aggressive of the payers in

 these situations,” he cautioned, that even though A4 was not balance-billing

 patients, BCBSM’s aggressive tactics would mean that “the impact on our

 facilities and patients will eventually be felt.” (Emphasis added.)

       32.    When Casalou sent that email, Trinity’s Michigan hospitals and A4

 had been working together for half a century. Just four years’ prior, A4 had been


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 one of only four anesthesiology practices in the nation to be awarded the coveted

 “Preferred Provider” designation by Trinity’s parent organization. Trinity had

 every reason to continue working with A4.

       33.    However, BCBSM soon made good on its threats. Casalou informed

 A4 that BCBSM was warning its subscribers that if they sought care at Trinity,

 BCBSM would take steps to leave those subscribers personally responsible for any

 charges by A4. As Casalou explained, BCBSM was telling its subscribers that it

 “will put the patient in the middle of [A4’s] dispute” with BCBSM.

       34.    Casalou also informed A4 that BCBSM had caused the president of

 another Michigan hospital to contact Trinity and warn that the hospital’s parent

 organization was “seriously considering telling its patients that they should not use

 Trinity facilities for any care that would require anesthesia,” despite there being a

 reciprocity agreement between Trinity and that organization. While A4 had taken

 every effort to avoid any change in patient care or billing, BCBSM was pursuing

 the opposite strategy.

       35.    BCBSM’s actions, Casalou explained to A4, would cause patients to

 stop using Trinity and would have a serious financial effect on Trinity. Despite

 Trinity’s long relationship with A4, and despite Trinity lauding A4 as one of the

 best practice groups in the country, in July 2019, Trinity, opted to terminate what it




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 had called weeks earlier its “long-standing and successful relationship with A4.”

 (Emphasis added.)

       36.    At the same time, A4 was receiving similar warnings from its other

 hospital partner in Michigan, Beaumont Health (“Beaumont”), about what BCBSM

 would do to Beaumont in retaliation for A4 going out of network. As with Trinity,

 A4’s anesthesiologists had worked successfully in Beaumont’s hospitals for years.

 For example, A4’s cardiac anesthesiologists helped bring improvements to

 Beaumont’s Dearborn hospital. While cardiac surgery is an important revenue

 generator for hospitals, Beaumont could not withstand BCBSM’s enforcement

 pressure any more than Trinity could. On July 5, 2019, BCBSM succeeded in

 causing Beaumont to send a termination notice to A4.

       37.    Along with BCBSM’s threats against A4, BCBSM in 2019 also

 knowingly (i) coerced and induced Trinity’s hospitals to breach non-solicit

 obligations they owed to A4 and (ii) conspired with Trinity to induce A4’s

 employees to breach their non-compete obligations.

       38.    A4 competes nationally for physicians and has made substantial

 investments in recruiting, training, and maintaining its team of anesthesiologists

 and CRNAs. To protect the investments in its practice, A4 has limited non-

 compete agreements with certain of its anesthesiologists and non-solicit

 agreements with the hospitals where its anesthesiologists practice. BCBSM knew


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 of these non-compete and non-solicit obligations, including through Casalou.

 Despite knowing of these agreements, beginning in or around June 2019, BCBSM

 acted through and in concert with Trinity’s hospitals, to solicit and hire A4’s

 anesthesiologists to work directly for Trinity, violating A4’s contractual rights and

 causing damage to A4.

       39.       Under pressure from BCBSM, and in conspiracy with BCBSM,

 Trinity in or around June 2019 solicited A4’s doctors, promising that even if the

 doctors breached their agreements with A4, Trinity “will indemnify the clinicians

 against any risk from the non-competes, if they agree to accept employment” at

 Trinity’s hospitals. (Emphasis added.) In making this offer, Trinity explicitly

 referenced the threat from BCBSM as motivating Trinity’s attempt to hire A4’s

 doctors. Trinity’s solicitation stated that Trinity was concerned with A4’s “plan to

 depar[ticipate] with Blue Cross,” because “Blue Cross Blue Shield of Michigan

 has been very aggressive in the past in these types of situations” and would

 potentially direct its insureds to “alternative sites of care.” (Emphasis added.)

 Hence, “if efforts to resolve this are unsuccessful . . . we will be prepared to

 approach A4 physicians and CRNAs about direct employment.” (Emphasis

 added.) Within months, A4 had lost several physicians due to BCBSM’s tortious

 interference.




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       40.    Another prong of BCBSM’s unlawful retaliation was economic duress

 aimed directly at A4 through its independent contractors. A4 works with certain

 anesthesiologists and CRNAs who are independent contractors and who also

 provide services for other healthcare groups. These healthcare professionals have

 individual in-network contracts with BCBSM, covering the work they do with A4

 and other providers. A4 did not require these individuals to go out of network with

 BCBSM, nor did they seek to do so. Nonetheless, BCBSM terminated the

 provider status of these independent contractors in July 2019, as punishment for

 working with A4. These terminations were without cause, without notice, and

 constituted breaches of BCBSM’s contracts with the contractors.

       41.    For A4’s independent contractors, these terminations meant that even

 when they were working with other providers, they would not have in-network

 status, thereby jeopardizing their ability to work with other healthcare providers.

       42.    After learning of the terminations, A4 wrote to BCBSM, stating that

 the terminations must have been an error, and asking that the affected independent

 contractors have their provider status reinstated. But it was not an error.

 BCBSM’s subsequent communications made clear that BCBSM would continue to

 breach its agreements, and unlawfully treat these healthcare practitioners as

 terminated, unless (i) they stopped working with A4 or (ii) A4 went back in-

 network with BCBSM.


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       43.    Faced with the simultaneous threats of losing its hospital partners and

 its personnel and being put out of business, A4 agreed to go back in-network with

 BCBSM and to accept BCBSM’s artificially low conversion factor for

 anesthesiology.

       44.    A year later, A4 again attempted to seek a competitive rate from

 BCBSM with the same result. On Thursday, October 22, 2020, A4 attempted to

 resolve its disagreement with BCBSM by inviting BCBSM to negotiate a

 competitive rate with A4, before A4 filed this lawsuit. The following Monday,

 October 26, 2020, BCBSM informed A4 that it was refusing to negotiate with A4

 on these issues. Instead, BCBSM induced Trinity to send a notice terminating its

 long-standing relationship with A4. The very next morning, Tuesday, October 27,

 2020, Trinity informed A4 that it was terminating all of A4’s relationships with

 Trinity’s hospitals in Michigan, effective in 180 days.

              BCBSM Uses Its Monopsony Power to Reduce the Quality and
              Quantity of Anesthesiology Care in Michigan, While Increasing
              Prices to Consumers.

       45.    BCBSM has used its illegally acquired market power to set its

 conversion factor at one of the lowest rates in the entire nation. Compared to the

 rates used in other states, BCBSM’s conversion factor was, as of April 2021, one




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 of the three lowest in the country,4 and it has remained in the bottom nationally and

 regionally for years. BCBSM’s rate has resulted in a chronic shortage of

 anesthesiologists in Michigan, one that is becoming even more acute as BCBSM’s

 practice of imposing a below-competitive rate continues. A4 lost doctors to

 neighboring Ohio, other Michigan anesthesiology providers have reported similar

 staffing problems, and there are nearly one-hundred open anesthesiology positions

 in the state. After Beaumont ceased working with A4 and NAPA, it has been

 reported to have lost about 50% of its anesthesiologists at one hospital. The gulf

 between BCBSM’s rate and those available outside Michigan shows why so many

 anesthesiologists are leaving the state. Based on American Society of

 Anesthesiologists data, Ohio’s average conversion factor for anesthesiology in

 2018 was about $10 higher than BCBSM’s. Because of how anesthesiology billing

 is calculated, a $10 difference in the conversion factor can result in a $40 per hour

 difference or more in compensation.

       46.    Because these shortages affect insurance providers across Michigan

 (not just BCBSM), BCBSM has not had to lower the rates it charges to consumers,

 despite its service-offering declining in quality as anesthesiologists leave the state.



 4
  Rick Ganzi, Michigan is Facing an Anesthesiologists Shortage, Due to Minimal
 Reimbursement, Lansing State Journal (Apr. 27, 2021),
 https://www.lansingstatejournal.com/story/opinion/contributors/viewpoints/2021/0
 4/27/gap-reimbursement-rates-anesthesiologists-hurts-health-care/7201393002/.

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 In fact, because BCBSM possesses monopoly power in the commercial health

 insurance market, with over 68% of the market statewide, BCBSM has been able

 to raise prices even as it restricts the quality and quantity of anesthesiologists

 available to consumers. BCBSM raised its rates by at least 2.5% for 2021 and is

 planning on raising its premiums by at least 6% for 2022, according to Michigan’s

 Department of Insurance and Financial Services. Kaiser Family Foundation data

 shows that Michigan has some of the highest insurance premiums in the country.

 BCBSM’s actions have thus increased both the nominal and the quality-adjusted

 prices for consumers. Nor are high premiums the only way in which BCBSM can

 impose supracompetitve charges on its customers. It can also impose higher co-

 payments and higher co-insurance than it would in a competitive market.

              BCBSM’s Actions Violate Section 1 and Section 2 of the Sherman
              Antitrust Act.
       47.    BCBSM has no pro-competitive justification for the anticompetitive

 restraints it has created and exploited. These restraints constitute unreasonable

 restraints of trade as well as per se violations under Section 1 and Section 2 of the

 Sherman Antitrust Act. A4 has suffered, and will continue to suffer, damages from

 these antitrust violations. Those damages flow directly from the anticompetitive

 nature of BCBSM’s conduct.




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                              FACTUAL ALLEGATIONS
    I.         The Parties, Jurisdiction, and Venue.

         48.     Plaintiff A4 is a physician-owned, professional limited liability

 organized under Michigan law and with a principal place of business in Ann

 Arbor, Michigan. Its anesthesiologists have undergone rigorous board

 certification, have introduced new procedures to Michigan hospitals, are professors

 at Wayne State University, and since the onset of the COVID-19 pandemic, have

 worked tirelessly, and at great personal risk to themselves, to perform life-saving

 intubations to place patients suffering from COVID-19 onto ventilators. Originally

 founded as a professional corporation in 1968, A4 has grown into one of the most

 respected anesthesiology practices in the state. Its doctors work with some of the

 top physicians in Michigan performing state-of-the-art procedures. While A4

 previously served patients in Grand Rapids, Michigan, as of 2019, BCBSM’s

 anticompetitive acts have limited A4 to operating in Southeastern Michigan.

         49.     A4 is a seller of anesthesiology services in Michigan and sells to

 BCBSM. A4 has suffered direct antitrust injury, in the form of lower revenues and

 lost profits, as a result of BCBSM’s conspiracy.

         50.     Defendant BCBSM is the largest commercial health insurer in

 Michigan and the ninth largest insurer in the country. Headquartered at 600 E.

 Lafayette Blvd., Detroit, Michigan 48226, BCBSM provides private health



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 insurance to over 4.5 million insureds in Michigan, and controls 68% or more of

 Michigan’s commercial health insurance market. BCBSM is the only Michigan

 entity licensed to use Blue Cross Blue Shield branding, which is administered

 nationally by the Blue Cross Blue Shield Administration (“BCBSA”). While

 BCBSM is nominally a nonprofit mutual health insurance company, its chief

 executive officer received over $19 million in compensation in 2018, the highest

 among all Blue Cross Blue Shield insurance companies and higher than the CEOs

 of almost every Michigan for-profit company, including Ford and Fiat Chrysler.

       51.   BCBSM participates in the health insurance market through various

 arms including BCN (which itself previously operated as multiple entities,

 including Blue Care Network of Southeastern Michigan and Blue Care Network of

 Southwestern Michigan). BCBSM coordinates and directs the operation of its

 various health insurance offerings, including BCN, when it comes to provider

 reimbursements. BCBSM’s practice has been to negotiate—or in the case of

 anesthesiology providers, unilaterally set—reimbursement rates for its health

 insurance products, so the conversion factor imposed for BCN products is the same

 as BCBSM’s other health insurance products. Because the various product arms of

 BCBSM act as one entity in the market for purchasing anesthesiology services,

 they are referred to collectively as BCBSM in the Complaint.




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       52.    Prior to 2013, BCBSM operated as a non-profit corporation, exempt

 from state and local (but not federal) taxation under Michigan law, but with

 regulatory requirements, including that it serve as the state’s “insurer of last

 resort.” However, in 2010, the Affordable Care Act was signed into law, which

 prohibits health insurers from refusing to cover a person or charging that person

 more because of a pre-existing condition. Subsequently in 2013, Michigan enacted

 legislation, pursuant to which BCBSM converted into a mutual nonprofit and,

 among other things, ceased being “the state’s ‘insurer of last resort.’”5 Subsequent

 to 2010, BCBSM and its co-conspirators substantially increased their

 anticompetitive restraints and their market power. These federal and state

 legislative enactments, and the responses to them by BCBSM and its co-

 conspirators, substantially changed the markets for commercial healthcare

 insurance in Michigan and related markets in Michigan.

       53.    BCBSM is engaged in interstate commerce and in activities

 substantially affecting interstate commerce, and the conduct alleged herein

 substantially affects interstate commerce. Among other things, BCBSM’s

 artificially low rate for anesthesiology services has caused A4 to lose multiple

 anesthesiologists who left to work in Ohio. BCBSM’s low rate for anesthesiology

 5
  Jeff Karoub, Gov. Snyder Signs Blue Cross Blue Shield Overhaul, Oakland Press
 (Mar. 18, 2013), https://www.theoaklandpress.com/news/gov-snyder-signs-blue-
 cross-blue-shield-overhaul/article_3385072c-8ca8-5c14-80a3-58fc33adf27a.html.

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 services has also made it more difficult for A4 and other Michigan anesthesiology

 providers to compete nationally to recruit anesthesiologists. BCBSM provides

 commercial health insurance that covers Michigan residents when they travel

 across state lines, purchases health care in interstate commerce when Michigan

 residents require health care out of state, and receives payments from customers

 located outside Michigan.

          54.     This Court has personal jurisdiction over BCBSM, because BCBSM

 is headquartered in and has its principal place of business in Detroit, Michigan.

 For the same reason, venue is proper in this District under Section 12 of the

 Clayton Act. 15 U.S.C. § 22.

          55.     This Court has subject matter jurisdiction over A4’s Clayton Act

 claims and jurisdiction pursuant to 15 U.S.C. § 15, 28 U.S.C. § 1331, and/or 28

 U.S.C. § 1337(a). BCBSM’s antitrust violations have harmed A4 in this district

 and elsewhere. This Court has supplemental jurisdiction over A4’s claims under

 Michigan law, pursuant to 28 U.S.C. § 1367 and principles of pendent jurisdiction.

    II.         The Anesthesiology Market
          56.     Anesthesiology is one of the most vital specialties in medicine as well

 as one of the most physically and mentally demanding. The anesthesiologist is

 called on to perform a feat that to this day remains a miracle of medicine: keeping




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 patients alive; safe; and in comfort; while they undergo invasive procedures.6

 Whether the procedure lasts 20 minutes or 20 hours, the anesthesiologist is called

 on to make split-second decisions and adjustments to ensure that the patient’s

 airways, breathing, and circulation are functioning properly. Because

 anesthesiologists are tasked with keeping patients safe when they are at their most

 vulnerable, anesthesiology is known as “one of the most intense physician–patient

 relationships in medicine.”7

           57.   Anesthesiology covers a wide range of procedures, including cardiac

 anesthesiology, neuroanesthesiology, obstetric anesthesiology, and pediatric

 anesthesiology. During the COVID-19 pandemic, the need for anesthesiologists

 has grown, as have the concomitant sacrifices they are called on to make for their

 patients. COVID-19’s tragic symptoms have led to a sharp increase in the use of

 ventilators as increasing numbers of patients lose the ability to breathe on their

 own. Before a patient can be placed on a ventilator, they must be intubated, and it

 is anesthesiologists who perform this life-saving procedure, one that that also puts

 the anesthesiologist directly at risk of infection. As the COVID-19 epidemic



 6
   “It is, quite literally, the physician anesthesiologist’s job to keep patients alive
 during invasive procedures.” Anesthesiology Specialty Description, Am. Med.
 Assoc., https://www.ama-assn.org/specialty/anesthesiology-specialty-description
 (last accessed Oct. 9, 2020).
 7
     Id.

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 continues, anesthesiologists, including the doctors at A4, are continuing to put

 themselves in harms’ way to ensure that patients get the care they need.

       58.    The unique role of anesthesiologists in medicine has shaped the

 market for anesthesiology services, leading to a compensation model that is

 different from all other medical specialties. A4 below provides a brief background

 on anesthesiology and the relevant markets. This background provides context for

 the harm BCBSM continues to exact upon those markets, to the detriment of

 competition, anesthesiologists, and patients.

              Anesthesiologists Require Access to Medical Facilities to Practice
              Medicine.
       59.    With the exception of anesthesiologists who solely provide pain

 management, all practicing anesthesiologists, A4 included, depend entirely on

 access to medical facilities, such as Trinity, for work. An anesthesiologist’s role is

 to perform, and to keep patients safe during, medical procedures, be they surgical,

 respiratory, obstetric, or otherwise. Without a medical facility for these procedures

 to take place, an anesthesiologist has no practice. A patient cannot visit an

 anesthesiologist’s office, receive anesthesia, and then walk down the street to

 undergo surgery. Anesthesia must be administered at the site of, and

 contemporaneous with, the patient’s medical procedure. The simple and

 unavoidable fact of anesthesiology is that practitioners who administer anesthesia

 have no choice but to work with medical facilities, such as Trinity’s hospitals.


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              Patients and Surgeons Differentiate Between Anesthesiologists
              Based on Quality.

       60.     Anesthesiologists are not fungible in the eyes of the patients or

 surgeons selecting them. Instead patients or their surgeons differentiate between

 anesthesiologists based on the quality of care they deliver, with anesthesiologists

 offering a higher quality of care being more desirable. See, e.g., Jefferson Par.

 Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 22-23 & nn.34, 39 (1984), abrogated on

 other grounds by Illinois Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28 (2006).

 For patients undergoing pain management procedures or other procedures in which

 the anesthesiologist is the primary treating physician, this can mean seeking out an

 anesthesiologist directly. For patients who are planning to undergo surgery,

 quality of care is just as, if not more, important. In those situations, the patient’s

 surgeon will typically choose the anesthesiologist for the procedure, as the surgeon

 will (a) have had a greater opportunity than the patient to make assessments of

 different anesthesiologists and (b) has a strong incentive to work with

 anesthesiologists that have the requisite skills and training to facilitate a good

 surgical outcome.

       61.    Following from the fact that patients (or their surgeons) differentiate

 between anesthesiologists based on quality is the fact that when patients (or their

 surgeons) decide that a higher-quality anesthesiologist is necessary for a procedure,

 the patient can be willing to incur greater costs to receive those services.


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       62.    Because surgery patients are interested in receiving a good surgical

 outcome, they will often defer to their surgeon’s choice of a high-quality

 anesthesiologist, even when that choice entails greater costs than a lower-quality

 (from the surgeon’s perspective) option. Those costs can include higher co-

 insurance payments for an anesthesiologist that charges higher rates or a

 willingness to travel farther or otherwise incur greater inconvenience to receive

 higher quality anesthesiology services. The latter can mean switching hospitals to

 have a procedure performed at a facility staffed with higher quality

 anesthesiologists. Surgery patients are able to do this because surgeons often have

 privileges at multiple competing hospitals.

       63.    For example, it has been reported that “Beaumont’s best and most

 conscientious surgeons are increasingly choosing to perform their procedures” at a

 competing hospital, St. Joseph Mercy Oakland,8 which is one of the Trinity

 hospitals where A4 operates. Beaumont recently ceased working with A4 as well

 as another respected anesthesiology group, NAPA, and, as a result of BCBSM’s

 anticompetitive actions, has not been able to replace those doctors with a sufficient

 number and quality of anesthesiologists, from surgeons’ perspective, to continue



 8
  Eric Starkman, Bailing Out at Beaumont—More Top Execs Bid Bye-Bye to CEO
 John Fox, Deadline Detroit (May 26, 2021),
 https://www.deadlinedetroit.com/articles/28082/starkman_bailing_out_at_beaumo
 nt_--_2_more_top_execs_bid_bye-bye_to_ceo_john_fox.

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 providing the same level of medical care. After Beaumont ceased working with

 these providers, cardiologists at Beaumont expressed “serious concerns that

 Northstar,” the new anesthesiology provider at Beaumont, “will not be able to

 provide the quality of cardiac anesthesia services that we have received for several

 decades.”9 Given these concerns, Beaumont surgeons and their patients are going

 to Trinity (where A4 still works) for surgery instead, so that their surgeries can be

 performed in conjunction with A4 anesthesiologists.

       64.    Even leaving aside the potential inconvenience caused to patients of

 shifting surgeries from one hospital to another, these decisions by surgeons are not

 sufficient to address the injuries to patients or to A4 from BCBSM’s actions. The

 numerous unfilled anesthesiologist positions in the state demonstrate that Michigan

 does not have enough anesthesiologists to meet patients’ needs. Also, the option of

 switching hospitals to receive care from a higher-quality anesthesiologist is not

 available to patients in emergency situations or who otherwise cannot travel the

 distance necessary. For A4, the shifted surgeries do not make up for the much

 larger number of opportunities to treat patients A4 has lost due to having to cease

 operations at Beaumont and (and at parts of Trinity) due to BCBSM’s actions and

 low-reimbursement rate.

 9
  Karen S. Sibert, How Could a Patient Die from Anesthesia for a Colonoscopy?,
 MedPage Today (Feb. 4, 2021), https://www.kevinmd.com/blog/2021/02/how-
 could-a-patient-die-from-anesthesia-for-a-colonoscopy.html.

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       65.    Additionally, as BCBSM’s conduct continues to drive high-quality

 anesthesiologists out of the state, Trinity and other hospitals are at risk of losing

 their remaining high-quality anesthesiologists as well, a significant loss to

 Michigan consumers.

       66.    The shift of surgeries from Beaumont to Trinity underlines the

 importance to hospitals of having high-quality anesthesiologists available on staff.

 Such surgeries are often critical to a hospital’s finances, because surgeries not only

 generate large amounts of revenue, they have high profit margins as well. As

 Reuters reported during the pandemic, when many hospitals were cancelling

 elective surgeries, “[H]igh-margin services, such as orthopedic and heart

 procedures, can account for up to 80% of revenue, while infectious disease and

 intensive respiratory treatments are less profitable.”10 Aside from orthopedic and

 cardiac surgery, elective surgeries generally are known to “generate high profit

 margins for hospitals.”11 (The term “elective” here does not mean merely cosmetic



 10
   Robin Respaut & Rebecca Spalding, U.S. Hospitals Halt Lucrative Procedures
 Amid Coronavirus Crisis, Job Cuts Follow, Reuters (Mar. 31, 2020),
 https://www.reuters.com/article/us-health-coronavirus-usa-hospitals/u-s-hospitals-
 halt-lucrative-procedures-amid-coronavirus-crisis-job-cuts-follow-
 idUSKBN21I388.
 11
   Sourav Bose & Serena Dasani, Hospital Revenue Loss from Delayed Elective
 Surgeries, U. Penn. Leonard Davis Institute of Health Econ. (Mar. 16, 2021),
 https://ldi.upenn.edu/our-work/research-updates/hospital-revenue-loss-from-
 delayed-elective-surgeries/.

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Case 2:20-cv-12916-TGB-APP
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 or optional, it includes medically-necessary procedures that, while not needing to

 be performed on an emergency basis, may still be “time-sensitive.”)12 Because

 these surgeries often require anesthesiology, hospitals that are perceived by

 surgeons as having lower-quality anesthesiologists risk losing out on these

 lucrative procedures to hospitals staffed with higher-quality anesthesiologists.

            67.   Notably, “staff” in the hospital context does not necessarily mean that

 a doctor is employed by the hospital. Anesthesiologists, or groups of

 anesthesiologists such as A4, often work instead as independent contractors who

 contract with the hospital to gain access to its facilities. While these contracts may

 involve stipends or subsidies paid by the hospital, the anesthesiologists are

 expected to bill patients’ insurers directly as the primary vehicle for compensation.

                  Absent Conspiracy or Monopsony, Insurers Have Incentives to
                  Attract High-Quality Anesthesiologists.
            68.   Absent conspiracy or monopsony, the market for insurers purchasing

 anesthesiology services would be aligned with the demand by patients (or their

 surgeons) for anesthesiologists. Insurers will, absent conspiracy or monopsony,

 want to have a sufficient number and quantity of anesthesiologists in network to

 serve their subscribers’ needs. The process of a doctor contracting with an insurer

 to join the insurer’s network and serve the insured’s members on pre-determined



 12
      Id.

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 terms is called going “in-network” or “participating.” To be in-network means that

 the anesthesiologist has contracted with the insurance company to be compensated

 according to an agreed formula when the anesthesiologist treats that insurer’s

 subscribers. If an insurer is not willing to pay competitive rates for

 anesthesiologists, it will have fewer high-quality anesthesiologists in its network.

       69.    In sum, absent conspiracy or monopsony, insurers need to provide

 patients with access to a network of anesthesiologists of sufficient size and quality

 and this need drives competition among insurers in the market for purchasing

 anesthesiology services, which in turn leads to competitive rates.

              Compensation for Anesthesiology Services Is Driven by
              Conversion Factors.
       70.    When assessing rates for anesthesiology services, the key metric is the

 conversion factor, which is typically the variable that drives differences in

 anesthesiology compensation. This was not always the case. In the 1940s,

 anesthesiologists were often compensated with a fixed percentage, around 20%, of

 the cost of each surgery where they administered anesthesia.13 This method was

 inefficient as it failed to tie compensation to the specific contributions

 anesthesiologists provide. A relatively simple surgery might present complex

 issues for the anesthesiologist and vice versa. United States v. Am. Soc. of


 13
   Kenneth Y. Pauker, A History of RBRVS as a Perspective on P4P – Part 1, Cal.
 Soc. Anesthesiologists Bulletin 42, 44 (Spring 2006).

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 Anesthesiologists, Inc., 473 F. Supp. 147, 152 (S.D.N.Y. 1979) (hereinafter ASA,

 Inc.).

          71.   In the 1950s, a new compensation model was pioneered in California,

 where the anesthesiologist would be paid based on multiple factors including the

 time spent and the complexity of the work.14 This system, referred to as the

 “Relative Value Guide” method, has continued to evolve and is used to this day in

 various iterations across different payers, both public and private, including

 Medicare. This time-based compensation system is unique to anesthesiologists

 among medical practitioners.

          72.   The basic inputs into compensation under the Relative Value Guide

 are four-fold: a base factor; modifiers; time; and a conversion factor.

          73.   Base Factors and Modifiers: The base factor and modifiers are

 numerical units which vary, respectively, depending on the procedure being

 performed and the characteristics of the patient. More complex procedures have

 higher base factors, and patients with complicating conditions are associated with

 higher modifiers. Base factors are generally the same across the United States,

 with private insurers adopting the base factors used by Medicare. While the

 specific types of modifiers and how much they affect base compensation can vary

 across anesthesiologists and payers, the relatively small size of the modifiers

 14
      Pauker, supra at 44.

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 means that they tend not to drive large differences among anesthesiology

 compensation.

       74.    Time: The next variable, time, reflects how long the anesthesiologist

 spent on the procedure, typically measured in 15-minute units from when the

 anesthesiologist begins preparing the patient to when the patient is placed safely

 under post-operative care.15 If an anesthesiologist spends 30 minutes on the

 procedure, that would equate to two time units. Aside from variations on how to

 round to the nearest time unit as well as on what the precise start and stop points

 are, the time factor is generally treated the same across anesthesiologists in the

 United States.

       75.    Conversion Factor: The final variable, the conversion factor, is the

 variable that varies the most across the United States. Because the other three

 variables are generally the same across the country, commercial insurers compete

 to sign up anesthesiologists to their networks by offering higher conversion factors

 than their competitors. The conversion factor is intended to take into account

 geographic differences, differences in cost of care, and the quality of the

 anesthesiologist. All else being equal, a practitioner in a higher cost of living area

 15
   Peter DeSocio & Vijay Saluja, Definition of Anesthesia Time, Am. Soc.
 Anesthesiologists, https://www.asahq.org/quality-and-practice-
 management/managing-your-practice/timely-topics-in-payment-and-practice-
 management/2019-relative-value-guide-updates-include-anesthesia-time-and-field-
 avoidance (last accessed Oct. 10, 2020).

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 will have a higher conversion factor than one in a lower cost of living area, and an

 anesthesiologist that delivers higher quality of care will charge a higher conversion

 factor than an anesthesiologist in the same area that delivers a lower quality of

 care.

         76.   The conversion factor is multiplied by the base compensation,

 modifiers, and time to yield the total allowance for the anesthesiologist’s work on a

 given procedure.

         77.   In an efficient market, the conversion factor would vary considerably

 across different anesthesiologists and different locations, reflecting the different

 value propositions that anesthesiologists present and the different costs of care. As

 the ASA, Inc. court observed, “conversion factors often vary from physician to

 physician.” 473 F. Supp. at 155.

         78.   Even Medicare, which has the luxury of not having to follow market

 forces, varies its conversion factors widely both among and within states, to reflect

 changes in the cost of care. For example, Medicare has two different conversion

 factors for Michigan. In 2020, anesthesiologists in the Detroit area (including

 Macomb, Oakland, Washtenaw, and Wayne counties) were paid pursuant to a

 Medicare conversion factor of $23.07, one of the highest Medicare conversion

 factors in the country, ranking approximately 28th out of over 100 localities.




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       79.    If conversion factors did not vary by location, anesthesiologists

 would, as a practical matter, largely be pushed to practice in the lowest-cost

 locations. Geographic variance in conversion factors therefore ensures that

 patients in high-cost areas can receive needed medical care.

       80.    The conversion factors paid by commercial health insurers tend to be

 much higher than Medicare conversion factors. Nationwide, the average Medicare

 conversion factor is about 29.1% of the average commercial conversion factor for

 anesthesiology.16 The large gap stems from a Medicare decision in the early 1990s

 to increase compensation for general practitioners while reducing it for

 anesthesiologists. Medicare rates for anesthesiology were cut by about 40%,

 resulting in Medicare payments being much lower for anesthesiologists compared

 to many other medical practitioners.17 Since then, Medicare reimbursements for

 anesthesiologists have remained depressed, to the point where Medicare payments

 are not sufficient to cover the cost of practicing anesthesia. As a result,


 16
   Stanley W. Stead & Sharon K. Merrick, ASA Survey Results for Commercial
 Fees Paid for Anesthesia Services – 2018, 82 ASA Monitor 72, 72 (Oct. 2018)
 (“ASA Survey”), available at
 https://pubs.asahq.org/monitor/article/82/10/72/6203/ASA-Survey-Results-for-
 Commercial-Fees-Paid-for.
 17
   The Other Big Medicare Payment Problem – The Low, Low Anesthesia
 Conversion Factor, Anesthesia Bus. Consultants (May 3, 2010),
 https://www.anesthesiallc.com/publications/anesthesia-provider-news-ealerts/428-
 the-other-big-medicare-payment-problem-the-low-low-anesthesia-conversion-
 factor.

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 anesthesiologists depend on payments from commercial payers to continue

 operating.

       81.    Even with the same physician, the conversion factor may change

 depending on how the anesthesiology was administered. For example, when an

 anesthesiologist works with a hospital-employed CRNA on a procedure, BCBSM

 will reduce the anesthesiologist’s conversion factor by 45%, with the remainder

 being allocated to the CRNA. Not all health insurers in Michigan follow this

 practice. Instead, other insurers, recognizing that the contributions of

 anesthesiologists and CRNAs to patient care are complimentary rather than zero-

 sum, do not reduce conversion factors when anesthesiologists and CRNAs work

 together.

              Anesthesiologists Generally Operate Out of Independent
              Practices.
       82.    Just as anesthesiologist compensation changed over time, so too has

 the treatment of anesthesiology services. Anesthesia practitioners originally were

 considered hospital staff and lacked the independence, respect, and pay associated

 with other medical professionals. ASA, Inc., 473 F. Supp. at 150. Under this

 model, the anesthesiologist’s client was the hospital, not the patient. Id. After

 World War II, anesthesiologists moved away from the employee model and instead

 formed collaborative practice groups. See id. By 1979, around 90% of all active




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 anesthesiologists were working independently or in practice groups rather than

 receiving hospital salaries. Id.

       83.    The practice group model has multiple benefits for quality of care. It

 provides the anesthesiologist with a collaborative work environment aimed at

 honing and improving his or her craft. It also provides flexibility so that surgeons

 can seek out anesthesiologists with whom they have a rapport and develop long-

 lasting working relationships, even if they have separate employers. Being

 independent also permits anesthesiologists to work at multiple hospitals,

 performing different types of procedures and dealing with different types of

 patients, all the while increasing the depth and breadth of their skills.

       84.    From the hospital’s perspective, the practice group model allows the

 hospital to avoid the costs of recruiting, training, and managing anesthesiologists

 that would otherwise come with employing anesthesiologists directly. “[H]ospital

 employment” of anesthesiologists, by contrast, is considered “an option of last

 resort” for the hospital.18




 18
   Tony Mira, Is Hospital Employment Inevitable for Anesthesia Providers,
 Anesthesia Business Consultants (Sept. 9, 2019),
 https://www.anesthesiallc.com/publications/anesthesia-provider-news-
 ealerts/1244-is-hospital-employment-inevitable-for-anesthesia-providers.

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               Out-of-Network Billing and A4’s Promise Not to Balance Bill.
       85.     When an anesthesiologist is in-network, the question of what

 conversion factor will be charged is typically subject to the anesthesiologist’s

 contract with the patient’s insurer. When an anesthesiologist is out-of-network

 with an insurance company, he or she does not have a pre-existing agreement on

 rates with the insurance company, and instead each bill is determined either by

 negotiation (which may lead to litigation) or by applicable laws governing

 anesthesiologist compensation on a case-by-case basis. Prior to 2020, if the out-of-

 network insurer refused to pay the amount requested by the anesthesiologist, the

 physician had two options: (1) suing the insurance company; or (2) billing the

 patient for the remainder.

       86.     When A4 informed BCBSM in 2019 that it was considering going out

 of network with the insurer, A4 repeatedly confirmed to BCBSM and to the

 hospitals where A4 worked that A4 would not balance bill any of BCBSM’s

 insureds. Put differently, A4 confirmed that it would not charge BCBSM’s

 insureds any more after A4 went out-of-network than A4 would have when it was

 in-network.

       87.     In 2020, Michigan adopted legislation that mandated in some

 circumstances what had already been A4’s policy concerning A4’s attempt to leave

 BCBSM’s network: not balance billing patients. In 2021, federal regulators



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 promulgated balance-billing regulations at the federal level. These laws and rules

 also regulate how much anesthesiologists can bill out-of-network insurers in

 certain instances, with calculations based on the insurer’s in-network rates.

 Because in-network rates are an input into the calculations under these new laws

 and rules, BCBSM’s historic and on-going suppression of in-network rates,

 through its conspiracy with other insurers, mean that even with these regulations,

 anesthesiologists are still being paid below-competitive rates.

    III.        BCBSM Enters into a Conspiracy Aimed at Creating and Exploiting
                Monopsony Power.

          88.     BCBSM entered into a horizontal conspiracy with other insurers

 nationwide to suppress competition and monopsonize the markets for buying

 healthcare provider services, including hospital services and anesthesiology

 services. BCBSM entered into this horizontal conspiracy with other Blues—

 commercial health insurance companies licensing the Blue Cross Blue Shield

 brand.

          89.     Together, the Blues insure around 105 million Americans and have

 provider networks including around 96% of hospitals and around 93% of

 professional providers. The conspiracy is implemented in a so-called “amended

 license agreement” with the Blue Cross Blue Shield Association (“BCBSA”). The

 BCBSA owns the Blue Cross Blue Shield branding and is in turn owned and




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 controlled by the Blues. Pursuant to their “amended license agreement” with

 BCBSA, the Blues agree to multiple anticompetitive restraints.

        90.    For example, the “amended license agreement” includes an agreement

 to allocate geographic markets, referred to as “services areas,” among the Blues,

 pursuant to which Blues will refrain, with limited exceptions, from competing in

 each other’s service areas and will curtail competition involving their non-Blue

 affiliates.

        91.    This horizontal conspiracy includes restrictions on (i) how much

 revenue a Blue can generate from non-Blue business in its designated service area

 and (ii) how much revenue a Blue can generate company-wide through businesses

 other than its Blue-branded business. Under these so-called “Best Efforts” rules, a

 Blue license holder cannot receive more than 20% of its revenue from non-Blue

 business in its designated service area and cannot receive more than 33% of its

 company-wide revenue from non-Blue business. These limits, which are output

 restrictions on non-Blue revenues, ensure that Blues will not circumvent the

 service area allocations by competing with each other using non-Blue subsidiaries.

        92.    This horizontal conspiracy results in BCBSM enjoying less

 competition in Michigan both for selling commercial health insurance and for

 signing providers up to its network. In exchange, BCBSM restricts its competition

 with the other Blues in their service areas. By restraining competition with the


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 other Blues and their affiliates, BCBSM is able to pay providers less than it

 otherwise would have: lowering its costs and increasing its control of the Michigan

 commercial health insurance market. These restrictions have no pro-competitive

 justification, and instead serve to protect BCBSM and the other Blues from the

 normal market forces that drive competition and innovation, while harming

 competing health insurers, healthcare providers, and consumers.

       93.    Other Blues would compete with BCBSM, and vice-versa, under

 normal market conditions. For example, Blue Cross Blue Shield of Wisconsin

 (“BCBS-WISC”) provides health insurance plans in Wisconsin to approximately

 900,000 enrollees in Wisconsin, either directly or through subsidiaries. As another

 example, Anthem Blue Cross Blue Shield of Ohio (“BCBS-OH”) provides health

 insurance plans in Ohio to more than 3,000,000 enrollees, either directly or through

 subsidiaries. But for the horizontal conspiracy among Blues insurers, BCBS-

 WISC, BCBS-OH, or both would likely offer health care products in neighboring

 Michigan, thereby exerting competitive pressures against both BCBSM’s

 monopsony and monopoly power. However, the geographic and output

 restrictions in the “amended license agreement” allow BCBSM to insulate itself

 from the normal forces of competition, thereby allowing BCBSM to keep

 premiums up and provider reimbursements down.




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       94.    In addition, the “amended license agreement” also requires Blues to

 fix prices and boycott healthcare providers outside their service area (the “Price

 Fixing and Boycott” conspiracy).

       95.    The Price Fixing and Boycott aspect of the license agreement involves

 the BlueCard program, which the “amended license agreement” requires the Blues

 to use. The BlueCard program is a method through which BCBSM can process

 claims by a provider in its service area on behalf of a patient covered by another

 Blue plan, and vice versa. Under the BlueCard program, the patient’s Blue insurer

 is referred to as the “Home Plan,” while the Blue located where the medical service

 is provided is the “Host Plan.” If a healthcare provider treats someone covered by

 a Blue plan in another state, the healthcare provider must submit their claim to the

 Host Plan, after which the claim is transmitted to the Home Plan for processing.

 The provider is paid based on the reimbursement rates in his or her contract with

 the Host Plan—thereby fixing prices between the Host Plan and the Home Plan.

       96.    Adding to the administrative difficulties, the provider must comply

 with the medical policy and other requirements of the Home Plan, to which he or

 she often does not have access. As a result of the BlueCard system, A4 is expected

 to comply with myriad different variations of medical policies, creating

 inefficiencies, adding to administrative costs and resulting in claim denials, in




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 whole or part based upon the lack of information available about the various other

 Blue plans.

       97.     As part of the Price Fixing and Boycott conspiracy, BCBSM and the

 other Blues have also agreed not to contract with providers outside of their

 respective service areas. This boycott means that A4’s only option for providing

 services in Michigan to patients insured under other Blues is to do so through

 BCBSM, using the BlueCard program. A4 is therefore forced to accept BCBSM’s

 anesthesiology rate when it covers patients insured by any of the Blues, regardless

 of what those insurers’ rates are. This price fixing in turn keeps the anesthesiology

 rates in Michigan artificially suppressed.

       98.     For example, Blue Cross Blue Shield of Florida uses conversion rates

 of around $70 - $80, significantly higher than BCBSM’s $63.76 conversion rate in

 2020. However, when A4 treats patients insured by Blue Cross Blue Shield of

 Florida, it must accept BCBSM’s lower rate.

       99.     There is no pro-competitive justification for BCBSM’s horizontal

 conspiracy with the other Blues. These horizontal conspiracies restrain

 competition, restrict output, fix prices, and boycott services providers, thereby

 restraining trade in Michigan, while increasing BCBSM’s market power and

 enabling BCBSM to pay anesthesiologists less than what BCBSM would have paid

 absent these violations of the antitrust laws.


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    IV.   BCBSM Retaliates Against Anesthesiologists Who Reject BCBSM’s
          Uniform Rate.

              After A4 States Its Intent to Leave BCBSM’s Network, BCBSM
              Punishes the Hospitals Where A4 Works.

       100. In the first quarter of 2019, A4 attempted to negotiate a higher

 conversion factor with BCBSM. BCBSM had kept A4’s anesthesiology

 conversion factor essentially the same for over five years, despite the cost of care

 increasing. A4 sought an increase that would bring BCBSM’s conversion factor

 more in line with market realities.

       101. When BCBSM refused to negotiate a higher rate, A4 informed

 BCBSM that it would be terminating its in-network status with BCBSM on 90-

 days’ notice. A4 assured BCBSM, and the hospital networks where A4 worked,

 that if A4 went out of network, it would not balance bill BCBSM’s patients: A4

 would leave any conflict over rates strictly between A4 and BCBSM, rather than

 involving patients. Instead of coming to the negotiating table, BCBSM responded

 by (1) threatening to boycott Trinity and Beaumont unless they terminated their

 relationships with A4 (or forcing A4 to remain in BCBSM’s network); and (2)

 interfering with A4’s contracts, business, and business relationships.

       102. On April 22, 2019, A4 received an email from Rob Casalou, who is

 both the CEO of Trinity’s Michigan operations and a board member on BCBSM’s

 board of directors. Casalou wrote:



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       I spoke to BCBSM last Wednesday about this [A4’s potentially going
       out of network with BCBSM] because the topic came up in a recent
       board meeting. I am very concerned about how the A4 de-participation
       strategy will impact our patients short and long term. BCBSM has a
       reputation for being the most aggressive of the payers in these
       situations. I did learn that they will consider a new process that would
       require every BCBSM surgery booked in a facility with A4 to have pre-
       authorization from the surgeons as at least one change in the
       process. They will also look to steer work away from facilities with
       A4.

       103. (Emphasis added.) Casalou concluded his email with the ominous

 note that if A4 even so much as sued BCBSM, “the impact on our facilities and

 patients will eventually be felt. In such case, we will need to consider our

 options.” (Emphasis added.)

       104. Casalou’s email set out an ultimatum from BCBSM: if A4 went out of

 network or tried to sue BCBSM, BCBSM would respond by boycotting the

 facilities that did business with A4, until they ceased doing business with A4

 and/or forced A4 to go back in-network with BCBSM. Around the same time,

 Beaumont was providing similar warnings to A4.

       105. On May 29, 2019, A4 sent BCBSM a notice reiterating that its in-

 network status with BCBSM would terminate on July 15, 2019, and reminding

 BCBSM that it and A4 “still have time to negotiate in good faith in order to reach

 an alternative rate structure.” A4’s letter explained that it was impossible for A4 to

 continue doing business under BCBSM’s artificially low conversion factor,

 including because “A4 has had virtually the same rate for the last six (6) years,

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 during which time the cost to provide medical care and services has markedly

 increased. A4 cannot afford to stay at this same rate.” Before and after sending

 the letter, A4 continued to reiterate that even if it went out of network, it would

 continue to serve BCBSM’s insureds and would not balance bill them.

       106. A4’s promises to continue treating BCBSM insureds and not to

 balance bill them meant that, even if A4 went out of network, BCBSM subscribers

 receiving care Trinity or Beaumont would continue to receive medical care from

 A4 and would not be charged any more by A4 than when A4 was in-network with

 BCBSM.

       107. By 2019, Trinity’s Michigan hospitals had been working with A4’s

 anesthesiologists for over 50 years—essentially since A4’s founding. During that

 long relationship, A4 had been responsible for introducing anesthetic techniques to

 Trinity hospitals, including certain kinds of nerve blocks. In 2015, just four years

 prior to Casalou’s email, A4 had been one of only four anesthesiology practices in

 the nation to be awarded the coveted “Preferred Provider” designation by Trinity’s

 parent organization. After Casalou’s email about BCBSM’s threat, Trinity

 reiterated, in a document provided to A4’s doctors in or around June 2019, that

 “Trinity Health Michigan has enjoyed a long-standing and successful

 relationship with A4.” (Emphasis added.)




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       108. A4 had a similarly successful relationship serving as anesthesiology

 staff at Beaumont. As with Trinity, A4’s anesthesiologists had worked in

 Beaumont’s Michigan hospitals for years, specifically its Beaumont Dearborn,

 Beaumont Trenton, Beaumont Taylor, and Beaumont Wayne hospitals, all in

 southeastern Michigan. Also as with Trinity, A4’s work with Beaumont had been

 successful, including, for example, the improvements A4’s cardiac

 anesthesiologists helped bring to Beaumont Dearborn’s cardiac surgery

 department.

       109. In a normal market, A4’s assurances not to balance bill patients,

 combined with A4’s record of success at Trinity and Beaumont, would have

 caused those hospitals to continue working with A4, even as it attempted to

 negotiate a competitive rate with BCBSM. However, this was not a normal

 market.

       110. By July 2019, Casalou was informing A4 that BCBSM’s threats had

 become a reality. BCBSM was taking steps to prevent insureds from using Trinity

 or Beaumont, including by threatening subscribers that if they “receiv[ed] care at a

 Trinity facility with A4 anesthesiologists,” they would be personally responsible

 for paying A4. Casalou warned A4, “It appears that BCBSM is making these calls

 to employers generally” to dissuade patients from using Trinity. Casalou further

 warned that BCBSM’s actions “will put the patient in the middle of your dispute”


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 with BCBSM. Despite A4 having taken every effort to avoid any change in patient

 care or billing, BCBSM was taking the opposite strategy, thereby creating

 unnecessary inconvenience, and possibly harm, to its own subscribers, to put

 pressure on Trinity and Beaumont.

       111. Casalou informed A4 that BCBSM’s decision to punish patients for

 using Trinity would lead consumers to avoid “us[ing] Trinity facilities,” leading to

 “a serious financial impact on” Trinity. BCBSM was seeking to disrupt patient

 care until the financial consequences caused Trinity and Beaumont to comply with

 BCBSM’s threats.

       112. A4 also learned from Casalou that BCBSM had caused the president

 of another Michigan hospital to contact Trinity and warn that the hospital’s parent

 organization was “seriously considering telling its patients that they should not use

 Trinity facilities for any care that would require anesthesia,” despite there being a

 reciprocity agreement between Trinity and that organization.

       113. That same month, BCBSM released a Network Update providing

 further insight into why it was willing to disrupt its relationships with its own

 subscribers. BCBSM’s publication explained that A4’s decision to reject

 BCBSM’s rate set A4 “apart from other anesthesiology practices in Michigan

 which all accept the current uniform Blue Cross contracted payment as payment in

 full.” BCBSM underlined the word “all” in the memorandum, emphasizing the


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 importance to BCBSM of having every anesthesiologist in Michigan subject to its

 uniform rate. A4 was attempting to resist the monopsony power that BCBSM had

 built over decades through its Blues conspiracy. And BCBSM was willing to

 sacrifice its subscribers’ best interests if it meant eliminating that resistance.

       114. BCBSM’s strategy of targeting patients to harm Trinity and Beaumont

 succeeded. For example, on July 5, 2019, BCBSM caused Beaumont to issue A4 a

 notice of termination of their relationship, and less than two-weeks later, BCBSM

 caused Trinity, on July 15, 2019, to send a termination notice to A4.

              BCBSM Tortiously Interferes with A4’s Contracts with Trinity
              Hospitals and A4’s Employees.
       115. Along with pressuring hospitals to cease doing business with A4,

 BCBSM also tortiously interfered with A4’s contracts with Trinity hospitals and

 A4’s contracts with A4’s employees. Specifically, BCBSM (i) coerced and

 induced Trinity’s hospitals to breach the non-solicitation obligations they owed to

 A4; and (ii) acted through, and in concert with, Trinity to tortiously interfere with

 the non-compete obligations owed to A4 by certain of A4’s employees.

       116. A4 competes nationally for physicians and has made substantial

 investments in recruiting, training, and maintaining its team of medical

 practitioners. To protect the investments in its practice, A4 has narrow non-

 compete agreements with certain of its anesthesiologists and non-solicit

 agreements with the hospitals where its anesthesiologists practice.


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       117. For example, in 2019, A4 and one of Trinity’s subsidiaries, Saint

 Joseph Mercy Health System (“SJMHS”), were working together pursuant to an

 agreement executed in February 2017 and later amended in August 2018 (the

 “SJMHS Order”). The SJMHS Order covers A4’s services at multiple Trinity

 hospitals within the SJMHS system, including St. Joseph Mercy Oakland; St.

 Joseph Mercy Hospital, Ann Arbor; St. Joseph Mercy Livingston Hospital; Saint

 Joseph Mercy Chelsea Hospital; and St. Mary Mercy Livonia Hospital. The

 SJMHS Order provides, “During the term of this Order . . . SJMHS shall not, either

 directly or indirectly solicit, hire contract with, or otherwise engage, in any

 capacity, any physician who provides Professional Services or Administrative

 Services under this Order or the MSA or who is otherwise an employee or

 independent contract of [A4] during the term of this Order or the MSA without

 [A4]’s advance written consent.” SJMHS Order § 13.

       118. A4 in 2019 also worked with another Trinity hospital in Michigan,

 Mercy Health Saint Mary’s (“MHSM”), pursuant to an agreement dated September

 1, 2016 (the “MHSM Order”). That agreement provides: “During the term of this

 Agreement and for one (1) year thereafter, MHSM will not, directly or indirectly,

 whether as an individual, advisor, employee, agent, or otherwise, take any action to

 induce any Member or employee to cease his or her employment with [A4].”

 MHSM Order § 11.3(b) (Sept. 1, 2016).


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       119. A4 also has narrow non-compete obligations with certain of its

 physicians concerning practicing anesthesiology. These obligations are narrowly

 tailored to protect A4’s interests, including its investments in the employees, and

 are subject to geographic, subject matter, and durational limits. As of 2019, these

 non-compete obligations included the following requirement: “For one year after

 the termination of Physician’s employment hereunder, Physician shall not practice

 medicine with respect to anesthesiology or pain management at any healthcare

 facility within 15 miles of any health care facility where Physician provided

 services during the term of his or her employment with [A4].”

       120. BCBSM was aware of these hospital and physician contracts, as well

 as their respective non-solicit and non-compete obligations, including because of

 BCBSM’s relationship with Casalou. Casalou was then, and remains, CEO of

 Trinity’s Michigan operations. He executed the SJMHS Order, including its

 amendment, and was aware of the MHSM Order and its specific terms. He was

 also aware of A4’s non-compete rights vis-à-vis its employees. In 2019, Casalou

 was, and remains, a board member on BCBSM’s board of directors. When A4

 dealt with Casalou, it was evident that he did not wall off information he had

 learned in one role from the other role.

       121. Despite being aware of A4’s contractual rights, BCBSM coerced and

 induced Trinity to breach and interfere with those rights. In or around June 2019,


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 while the SJMHS agreement was still in effect, SJMHS circulated a document to

 A4’s anesthesiologists promising that even if they breached their agreements with

 A4, Trinity “will indemnify the clinicians against any risk from the non-

 competes, if they agree to accept employment” at Trinity’s hospitals. (Emphasis

 added.) In making this offer, Trinity explicitly referenced the threat from BCBSM

 as motivating Trinity’s attempt to hire A4’s doctors. The solicitation states that

 Trinity was concerned with A4’s “plan to depar[ticipate] with Blue Cross,”

 because “Blue Cross Blue Shield of Michigan has been very aggressive in the

 past in these types of situations” and would potentially direct its insureds to

 “alternative sites of care.” (Emphasis added.) Hence, “if efforts to resolve this

 are unsuccessful . . . we will be prepared to approach A4 physicians and CRNAs

 about direct employment.” (Emphasis added.)

       122. This solicitation breached section 13 of the SJMHS Order, because it

 “directly or indirectly solicit[ed]” A4’s physicians.

       123. A4 responded on July 2, 2019, by demanding that Trinity’s hospitals

 cease breaching their non-solicitation obligations. BCBSM, however, continued to

 coerce and induce Trinity’s hospitals into breaching their non-solicit obligations

 owed to A4.

       124. On or around July 23rd, 2019, Trinity offered A4’s physicians at

 MHSM positions at that hospital, despite the MHSM Order, still being in effect.


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 These solicitations breached the MHSM Order, because they involved MHSM

 “directly or indirectly . . . or otherwise, tak[ing] action to induce any Member or

 employee to cease his or her employment with” A4. MHSM § 11.3(b).

       125. These solicitations not only breached the Trinity hospitals’ obligations

 to A4, they also constituted inducements to A4’s employees to breach their narrow

 non-compete obligations owed to A4. Working through, and in concert with,

 Trinity, BCBSM ultimately succeeded in inducing breaches of these non-compete

 obligations, and caused A4 to lose several of its doctors to Trinity.

       126. On August 16, 2019, A4 sought, and obtained, a temporary restraining

 order against Trinity, MHSM, and Casalou from the Michigan Circuit Court for the

 County of Washtenaw. The temporary restraining order prevented Trinity from

 continuing its breaches of contract and tortious actions against A4.

              BCBSM Imposes Economic Duress on A4 by Willfully Breaching
              Its Contracts with A4’s Independent Contractors.
       127. Along with its unlawful threats and tortious interference, BCBSM also

 applied economic duress to A4 by breaching its contracts with A4’s independent

 contractors. A4 works with certain anesthesiologists and CRNAs who are

 independent contractors and who also provide services for other healthcare groups.

 These healthcare professionals have individual in-network contracts with BCBSM,

 covering the work they do with A4 and other providers. In 2019, A4 did not




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 require these independent contractors to go out of network with BCBSM as part of

 A4’s decision to leave BCBSM’s network, nor did they seek to do so.

       128. These providers have contracts with BCBSM that do not permit

 BCBSM to terminate their provider status without either cause or notice.

 Nonetheless, after A4 informed BCBSM that it planned to go out-of-network,

 BCBSM retaliated shortly thereafter by unlawfully terminating the provider status

 of A4’s independent contractor anesthesiologists and CRNAs. These terminations

 were without cause, without notice, and constituted breaches of BCBSM’s

 contracts with the affected individuals.

       129. These unlawful terminations meant that these independent contractors

 would not have in-network status with BCBSM, even when working with entities

 other than A4.

       130. After learning of the terminations, A4 wrote to BCBSM, stating that

 the terminations must have been an error, and asking that the affected independent

 contractors have their provider status reinstated. But the termination, A4 would

 learn, was not an error. BCBSM’s subsequent communications made clear to A4

 that BCBSM would continue to breach its agreements, and treat these healthcare

 practitioners as terminated, unless (i) they stopped working with A4 or (ii) A4

 went back in-network with BCBSM.




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       131. By breaching its agreements with A4’s independent contractors,

 BCBSM subjected A4 to unlawful economic duress to return to BCBSM’s

 network, which A4 ultimately did, due to the pressures being exerted on it by

 BCBSM.

       132. BCBSM’s tortious actions—its unlawful and malicious threats; its

 tortious interference; and its breach of its contracts to cause economic duress—

 caused A4 significant damages.

       133. Faced with an existential threat from BCBSM, A4 acquiesced and

 went back in network with BCBSM in July 2019. A4 subsequently entered into a

 mutual settlement with Trinity, pursuant to which it continues to provide services

 at SJMHS but is specifically required to remain in-network with BCBSM. Due to

 BCBSM’s actions, A4 had to cease working at Trinity MHSM and, subsequently,

 at Beaumont’s hospitals.

             In October 2020, BCBSM, in Concert with Trinity, Induces
             Trinity to Terminate Its Relationship with A4.

       134. On Thursday, October 22, 2020, A4 attempted to resolve its claims

 against BCBSM by inviting BCBSM to negotiate before A4 filed this lawsuit. The

 following Monday, October 26, 2020, BCBSM informed A4 that it was refusing to

 negotiate with A4. Instead, BCBSM, in concert with Trinity, induced Trinity to

 send a notice terminating its long-standing work with A4. The very next morning,

 Tuesday, October 27, 2020, Trinity sent a notice to A4 stating that Trinity was


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 terminating all of A4’s relationships with Trinity’s hospitals in Michigan, effective

 in 180 days. Ultimately, A4 was able to continue working with Trinity; however,

 due to BCBSM’s illegal actions, it must continue to accept BCBSM’s uniform rate.

    V.      BCBSM Has Used its Illegally Acquired Monopsony Power to
            Reduce the Quantity and Quality of Anesthesiologists in Michigan,
            While Maintaining or Increasing Prices to Consumers.

         135. BCBSM’s Blues conspiracy has resulted in BCBSM having

 monopsony power in the market for purchasing anesthesiology services in

 Michigan.

         136.   In a BCBSM “Network Update,” dated July 10 2019, BCBSM

 emphasized that A4’s attempt to leave BCBSM’s network set A4 “apart from other

 anesthesiology practices in Michigan which all accept the current uniform Blue

 Cross contracted payment as payment in full.” (emphasis in original.) Pursuant to

 this uniform rate, the least-qualified and most inexperienced anesthesiologist,

 working in the lowest cost part of the state, is compensated at the same level as the

 most sought-after and highly-trained cardiac anesthesiologists.

         137. Unlike BCBSM, its competitors negotiate conversion factors with

 anesthesiologists to reflect differences in cost and quality of care. Even Medicare,

 by contrast, has two different conversion factors for Michigan: one for the Detroit

 area and one for the rest of Michigan.




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            138. Monopsony power is the ability of a buyer to reduce prices while also

 reducing the overall amount purchased in a market. BCBSM’s actions

 demonstrate both of these hallmarks of monopsony power.

                  BCBSM Has Set Its Uniform Price for Anesthesiology Services at
                  a Below-Competitive Level.

            139. BCBSM has set its uniform price for anesthesiology services at a level

 that is below-competitive. In 2018, BCBSM applied a statewide conversion rate of

 $58.65. That is over $17 less than the national average anesthesiology conversion

 rate in 2018 of $76.32.19 In percentage terms, BCBSM’s 2018 conversion factor

 was over 23% lower than the 2018 national average.

            140. BCBSM’s 2018 conversion factor is also significantly below the 2018

 median national anesthesiology conversion factor of $71.81.20 BCBSM’s

 conversion factor was so low that it was in the 25th percentile nationwide according

 to the American Society of Anesthesiologists 2018 data.21 Put differently, 75% of

 the commercial conversion factors for anesthesiology in 2018 across the country

 were higher than BCBSM’s conversion factor. In what the American Society of

 Anesthesiologists classifies as the Eastern Midwest region (Michigan, Illinois,

 Indiana, Kentucky, and Ohio), BCBSM’s 2018 rate was also in the 25th percentile,


 19
      ASA Survey at 73.
 20
      Id.
 21
      Id.

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 i.e. 75% of the commercial conversion factors for anesthesiology in the region

 were higher than BCBSM’s conversion factor.22

          141. In a September 2020 internal memorandum, BCBSM acknowledged

 that Michigan specialists, including anesthesiologists, would suffer “losses,” absent

 higher reimbursements from BCBSM. (Emphasis added.)

          142. BCBSM’s low conversion factor cannot be explained by differences

 in the cost of care. If BCBSM’s low conversion factor merely reflected differences

 in the cost of care between Michigan and the rest of the country, then one would

 expect Medicare’s conversion factors for Michigan, which also take into account

 the cost of care, to be significantly lower than Medicare rates for the rest of the

 country. That is not the case.

          143. Instead, anesthesiologists in the Detroit area (including Macomb,

 Oakland, Washtenaw, and Wayne counties) had a 2020 Medicare conversion factor

 of $23.07, one of the highest Medicare conversion factors in the country, ranking

 approximately 28th out of over 100 localities, placing it in approximately the upper

 75th percentile of Medicare conversion factors. BCBSM’s low rate thus cannot be

 explained by cost of care. To the contrary, BCBSM imposes a low conversion rate

 where A4 operates, despite the high cost of care there. It is also notable that

 Medicare has two different conversion factors in Michigan, while BCBSM only

 22
      Id. at 74, 79.

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 has a single factor for the entire state. In an efficient market, one would expect

 there to be more price differentiation by commercial insurers than public insurers,

 not less.

         144. BCBSM’s conversion factor is also much lower than one would

 expect it to be given the applicable Medicare conversion factors. According to the

 American Society of Anesthesiologists in 2018, commercial conversion factors

 nationwide were on average about three and one-third times the applicable

 Medicare conversion factors.23 Using that multiplier would mean that, based on

 Michigan’s Medicare rates, the commercial conversion factor for the Detroit area

 should be about $79.56 and the conversion rate for the rest of Michigan should be

 about $75.29. However, as of 2020, BCBSM’s statewide rate was $63.76,

 significantly lower than commercial rates one would expect based on Michigan’s

 Medicare rates for anesthesiology.

         145. BCBSM’s conversion factor is also much lower than the average and

 median factors in Ohio. Ohio and Michigan are similarly-sized Midwestern states

 located on the Great Lakes and with an industrial focus. Both have populations

 with an average age of around forty years old. One would expect similar




 23
      ASA Survey at 72.

                                          62
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 conversion factors for anesthesiology. However, the average conversion factor in

 2018 in Ohio was $69.16, over ten dollars higher than BCBSM’s $58.65.24

          146. As of 2021, BCBSM’s conversion factor remains one of the lowest in

 the nation.

          147. Because BCBSM is, in the words of one competing health insurer,

 “driving the market price for anesthesia in Michigan,” BCBSM’s low conversion

 factor results in Michigan overall having some of the lowest pay for

 anesthesiologists in the nation. Bureau of Labor Statistics data from 2019 shows

 that the “[a]nnual mean wage” for anesthesiologists in Michigan is in the lowest

 band nationally (out of four bands) and is lower than every surrounding or nearby

 state for which there is data available: Wisconsin, Illinois, Indiana, Pennsylvania,

 Kentucky, West Virginia, and Missouri (data for Ohio was not available).25

                   BCBSM Is Reducing the Quantity and Quality of Anesthesiology
                   Care in Michigan.
          148. This reduction in demand in turn results in a reduction in the quantity

 and quality of anesthesiology care in Michigan. In April 27, 2021, it was reported

 in the Lansing State Journal that “nearly 100 anesthesiologist positions are open




 24
      Id. at 79.
 25
   Occupational Employment and Wages, May 2019 29-1211 Anesthesiologists,
 Bureau of Labor Stats. (May 2019),
 https://www.bls.gov/oes/current/oes291211.htm.

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 across Michigan right now and experts expect this shortage to continue,” with

 BCBSM’s low reimbursement rate listed as the primary cause.26 Despite the glut

 of unfilled anesthesiologist positions, “[m]ore than half of all anesthesiologists

 trained at the University of Michigan are leaving our state,”27 an outflow rate that

 is higher than other parts of the country. As a result, “Michigan hospitals are being

 forced to shut down operating rooms due to a shortage of anesthesiologists,”28

 leaving patients to have to find treatment elsewhere, during which time their

 conditions may worsen. Thus, while patients, and in turn hospitals, need more

 anesthesiologists to provide critical, high-quality care, BCBSM’s conspiracy has

 reduced demand among insurers for anesthesiology to the point where there are not

 sufficient doctors in the state to serve patients. Because of BCBSM’s long-

 standing conspiracy, this shortage has been affecting Michigan for several years.

 In 2010, for example, the RAND Corporation was reporting a shortage of both

 anesthesiologists and CRNAs in Michigan.29


 26
   Rick Ganzi, Michigan is Facing an Anesthesiologists Shortage, Due to Minimal
 Reimbursement, Lansing State Journal (Apr. 27, 2021),
 https://www.lansingstatejournal.com/story/opinion/contributors/viewpoints/2021/0
 4/27/gap-reimbursement-rates-anesthesiologists-hurts-health-care/7201393002/.
 27
      Id.
 28
      Id.
 29
   Lindsay Daugherty et al., Is There a Shortage of Anesthesia Providers in the
 United States?, RAND Corp. (2010),
 https://www.rand.org/pubs/research_briefs/RB9541.html.

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       149. Given the ongoing shortage of anesthesiologists in the state, and

 BCBSM’s below-competitive reimbursement, anesthesiologists are being pushed

 to work longer hours and to oversee more anesthetizing locations concurrently than

 in years past. A decade ago, anesthesiologists in many hospitals in Michigan

 regularly worked at a 3-to-1 or lower staffing ratio. That ratio has increased due to

 BCBSM’s continued exploitation of its illegally acquired market power, such that

 today, anesthesiologists in many hospitals in Michigan are regularly working at a

 4-to-1 staffing ratio, meaning that they are responsible for providing medical

 direction for CRNAs in four different anesthetizing locations concurrently. With

 fewer anesthesiologists available, those remaining in Michigan are being tasked

 with handling more cases concurrently.

       150. A4 is on the frontlines of the anticompetitive effects caused by

 BCBSM’s actions. A4 is one of the dwindling number of independent

 anesthesiology groups in Michigan focusing on delivering high-quality care. But

 as a result of BCBSM’s anticompetitive actions, A4 has lost multiple doctors who

 have decided to cease practicing in Michigan. A4 has recently lost multiple

 doctors who left to practice in Toledo, Ohio about an hour’s drive south of Ann

 Arbor, Michigan. As discussed above, Ohio’s average conversion factor for

 anesthesiology is about $10 higher than BCBSM’s. Because of how

 anesthesiology billing is calculated using 15-minute units, a $10 difference in


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 conversion factor can result in around a $40 per hour or more difference in

 compensation.

       151. Nor is A4 the only anesthesiology group in Michigan suffering from

 BCBSM’s anticompetitive actions. In Fall 2020, BCBSM had a call with the

 Michigan Society of Anesthesiologists, with representatives from multiple

 anesthesiology groups in Michigan joining. On the call, those anesthesiology

 groups confirmed that BCBSM’s rate was: causing anesthesiologists to leave the

 state; hampering efforts to recruit anesthesiologists into Michigan; and forcing the

 remaining doctors to work longer hours and at higher staffing-ratios. The

 anesthesiology groups also made clear that the costs to anesthesiologists of

 delivering anesthesiology care had been increasing faster than BCBSM’s rate

 (which had remained effectively the same for multiple years), thus leading to a

 practical reduction in BCBSM’s rate over time. At the meeting BCBSM admitted

 that its anesthesiology rate was low and needed to come up, but as of 2021, the rate

 remains one of the lowest in the nation.

       152. Just as the overall amount of anesthesiology services in the state has

 been reduced by BCBSM’s actions, A4 has itself had to curtail where it works and

 the amount of services it provides because of BCBSM’s monopsonist practices.

 After several years of practicing successfully at Beaumont, it had to cease working

 there due to BCBSM’s actions. Shortly thereafter, Beaumont cut ties with another


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 respected anesthesiology group, NAPA, as well, in a decision that was likewise

 animated by BCBSM’s monopsonistic practices in the market for purchasing

 anesthesiology services.

       153. Prior to losing A4 and NAPA, Beaumont’s hospitals were highly

 regarded. A4 and Beaumont had a successful relationship, which included

 improvements that A4 brought to the Beaumont Dearborn cardiac surgery

 department. This success derived in part from the working relationship developed

 between Beaumont’s cardiac surgeons and A4’s cardiac anesthesiologists.

 Likewise, Beaumont’s Royal Oak hospital, where NAPA served patients, had a

 cardiovascular surgery practice that ranked among the top 50 in the country.

       154. However, after BCBSM’s actions led to the loss of A4 and NAPA,

 Beaumont was not able to hire the number and quality of replacement

 anesthesiologists to continue operating at the same level of care. After Beaumont

 ceased working with A4 and NAPA, cardiologists at Beaumont expressed “serious

 concerns that Northstar,” a new anesthesiology provider at Beaumont, “will not be

 able to provide the quality of cardiac anesthesia services that we have received for

 several decades.”30 Amidst complaints of an anesthesiologist showing up 45-

 minutes late for surgery and refusing to work on weekends, a majority of

 30
   Karen S. Sibert, How Could a Patient Die from Anesthesia for a Colonoscopy?,
 MedPage Today (Feb. 4, 2021), https://www.kevinmd.com/blog/2021/02/how-
 could-a-patient-die-from-anesthesia-for-a-colonoscopy.html.

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 Beaumont’s surgeons declared that they lack confidence in Beaumont’s

 leadership.31 Beaumont is also reported to have lost possibly “close[] to 50%” of

 its anesthesiologists at one hospital.32 The reduction in the quality of

 anesthesiology services available at Beaumont affects all of Beaumont’s patients,

 regardless of whether they are insured by BCBSM or some other insurer.

       155. Given these issues, Beaumont surgeons are increasingly having

 operations performed at Trinity’s Oakland hospital instead—where A4 still

 works—despite the potential additional cost and inconvenience to patients.

              BCBSM Has Increased the Quality-Adjusted Prices Paid by
              Consumers for Health Insurance and for Anesthesiology Care.
       156. As a monopsonist, BCBSM does not pass on the savings from its

 below-competitive purchasing price to consumers. It has no need to do so. While

 BCBSM’s anticompetitive rate has reduced the quantity and quality of

 anesthesiology services offered in Michigan, that reduction applies to BCBSM’s

 competitors too. BCBSM is therefore able to reduce the quality of its insurance




 31
   Eric Starkman, Starkman: Beaumont Cardiac Leaders Warn Hospital Chairman
 of Compromised Patient Care, Deadline Detroit (Sept. 18, 2020),
 https://www.deadlinedetroit.com/articles/26232/starkman_beaumont_cardiac_lead
 ers_warn_hospital_chairman_of_compromised_patient_care.
 32
   Eric Starkman, Beaumont Health’s Culture of Deceit and Intimidation Imperils
 Patient Safety, Deadline Detroit (Jan. 29, 2021),
 https://www.deadlinedetroit.com/articles/27237/starkman_beaumont_health_s_cult
 ure_of_deceit_and_intimidation_imperils_patient_safety.

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 coverage while maintaining its dominance vis-à-vis competitors in selling

 insurance, and can thus avoid lowering its prices. By reducing the quality and

 quantity of the anesthesiology coverage it offers, without reducing rates

 commensurately, BCBSM has increased quality-adjusted prices for health

 insurance and for anesthesiology care.

       157. Because BCBSM also possesses monopoly power in the market for

 selling health insurance, it has been able to increase prices despite reducing the

 quality of the product it offers. BCBSM dominates, by any measure, the

 commercial healthcare market in Michigan. BCBSM has a 68% or greater share of

 the commercial health insurance market in Michigan.33 That is an increase over

 2019, when BCBSM’s market share was 67%.34 The next largest commercial

 health insurer in Michigan, Spectrum Health, has only 10% of the market.35

 BCBSM has an even higher share of the market for preferred provider organization

 (“PPO”) insurance plans. Under PPO insurance, the insurer provides coverage of

 both in-network and out-of-network providers. BCBSM has 78% or more of the




 33
  Competition in Health Insurance: A comprehensive study of U.S. markets, Am.
 Med. Ass’n 11 (2021).
 34
  Competition in Health Insurance: A comprehensive study of U.S. markets, Am.
 Med. Ass’n 14 (2019).
 35
  Competition in Health Insurance: A comprehensive study of U.S. markets, Am.
 Med. Ass’n 17 (2021).

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 PPO market in Michigan.36 In total, Michigan’s commercial health insurance

 market is the second-least competitive in the United States, having fallen four

 places since 2018, when Michigan was only the sixth-least competitive.37

          158. BCBSM’s dominance is reflected in the heavy concentration in the

 commercial health insurance market in Michigan. Under the Herfindahl–

 Hirschman Index (“HHI”), which the U.S. Department of Justice employs to

 measure market concentration, Michigan’s commercial insurance market has a

 score of 4,648.38 HHI increases as competition goes down, and Michigan’s 4,648

 score is almost double the 2,500 point threshold at which markets are deemed

 highly concentrated.39

          159. As a monopolist in the market for selling health insurance to

 Michigan consumers, BCBSM can, and has, raised prices for consumers even as it

 reduces the quality of the product if offers. For example, BCBSM raised its rates


 36
      Id. at 28.
 37
   Compare States with the Least Competitive Commercial Health Insurance
 Markets, Am. Medical Assoc. at 1 (2020), https://www.ama-
 assn.org/system/files/competition-in-health-insurance-commercial-markets.pdf,
 with Ten States with Least Competitive Health Insurance Markets, Am. Med.
 Assoc. at 1 (Sept. 17, 2019). https://www.ama-assn.org/delivering-care/patient-
 support-advocacy/10-states-least-competitive-health-insurance-markets.
 38
  Competition in Health Insurance: A comprehensive study of U.S. markets, Am.
 Med. Ass’n 17 (2021).
 39
   See Herfindahl-Hirschman Index, Dep’t of Justice (July 31, 2018),
 https://www.justice.gov/atr/herfindahl-hirschman-index.

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 by at least 2.5% for 2021 and is planning on raising its premiums by at least 6% for

 2022, according to Michigan’s Department of Insurance and Financial Services.

 According to the Kaiser Family Foundation, Michigan’s employer-based health

 insurance is the sixth most expensive in the nation as measured by plans covering

 an employee plus one other person.40 BCBSM’s actions have thus increased both

 the nominal and the quality-adjusted prices for consumers.

       160. Because BCBSM’s anticompetitive acts have resulted in BCBSM

 underpaying anesthesiologists and overcharging consumers, barring those actions

 would benefit both consumers and anesthesiologists. But for BCBSM’s

 anticompetitive acts, Michigan consumers would have an increase in the quality

 and quantity of anesthesiology services available and a decrease in the quality-

 adjusted price of anesthesiology care, even as the rates BCBSM pays high-quality

 anesthesiologists go up. Consumers who prefer lower-cost anesthesiology

 providers regardless of quality would still have the option to do so, because instead

 of being paid a uniform rate, anesthesiologists would compete at different price

 levels. Whereas today, because of BCBSM’s anticompetitive schemes, high-



 40
   Average Annual Employee-Plus-One Premium per Enrolled Employee for
 Employer-Based Health Insurance, Kaiser Family Foundation,
 https://www.kff.org/other/state-indicator/employee-plus-one-
 coverage/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Total%20An
 nual%20Premium%22,%22sort%22:%22desc%22%7D (last accessed Oct. 11,
 2020).

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 quality providers are being driven out of the state, despite consumer demand for

 their services, enjoining BCBSM’s anticompetitive actions would lead to more

 high-quality providers being available to meet patient’s needs.

             BCBSM Has a History of Entering into Agreements that
             Unreasonably Restrain Trade and Increase Its Market Power.

       161. BCBSM’s conspiracy is not the only example of it entering into

 agreements to restrain trade while benefiting itself. In 2010, the U.S. Department

 of Justice and the State of Michigan filed suit against BCBSM for restraining trade

 by entering, with Michigan hospitals, agreements containing most-favored nations

 (“MFN”) clauses, pursuant to which BCBSM kept its competitors’ costs up.

 BCBSM entered into agreements containing such clauses with over half of the 131

 general acute care hospitals in Michigan.

       162. BCBSM used two types of MFN-clauses. In one type, the hospital

 had to promise that it would charge BCBSM’s competitors more than the hospital

 charged BCBSM for the same services. Under the other type of MFN clause, the

 hospitals promised to charge BCBSM’s competitors at least as much as the

 hospital charged BCBSM. These clauses suppressed competition and innovation

 in the market for hospital services, by creating an environment where BCBSM’s

 competitors could not lower their costs. BCBSM’s MFN clauses were intended to,

 and did, give BCBSM market power in the market in which health insurers

 compete to purchase hospital goods and services.


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       163. By entering into the MFN scheme, BCBSM entrenched its market

 power at the cost of its competitors (who had artificially higher costs), consumers

 (who had artificially higher premiums), and other medical providers who did not

 have MFN agreements with BCBSM (as higher payments to hospitals with MFN

 clauses meant that there was less money to pay providers).

       164. While these MFNs were later prohibited under Michigan law,

 BCBSM’s monopolistic and monopsonistic market power—which BCBSM

 entrenched through the above devices, and others to be uncovered in discovery, in

 unreasonable restraint of trade—continues unabated.

    VI.   BCBSM Has Acquired Market Power in Each of the Relevant
          Markets.
       165. BCBSM’s anticompetitive conduct spans multiple product markets.

 Because BCBSM’s anticompetitive conduct involves both monopoly and

 monopsony, the markets affected include both a market of competing sellers and a

 market of competing buyers.

       166. First, there is the market for the sale of commercial healthcare

 insurance (excluding Medicare and Medicaid programs). This is a market of

 sellers competing for buyers: specifically, health insurers competing to provide

 health insurance services to individuals or enterprises. This product market

 includes the various means of paying or reimbursing for healthcare goods and

 services other than the direct payment by individuals who are not insured or


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 indemnified. This market includes the sale of the full package of healthcare

 financing services, including insurance, as well as, for self-insured groups, the sale

 of other healthcare financing services, such as access to a network of healthcare

 providers at reduced prices and the administration of healthcare-related employee

 benefit plans, which together form a relevant product market. This relevant

 product market can be described as the market for the sale of commercial health

 insurance.

       167. The purchasers of commercial health insurance do not have

 reasonable alternatives. Some employers are required by the Affordable Care Act

 to offer healthcare benefits to their employees. Employers who are required to

 offer these benefits, as well as employers who are not required to offer these

 benefits but wish to do so, have no reasonable alternative but to purchase

 commercial health insurance. For these employers, forgoing coverage or trying to

 self-supply, in other words managing all aspects of their employees’ health

 benefits on their own, is not feasible. Therefore, a profit maximizing hypothetical

 monopolist in this market likely would raise prices above competitive levels by

 imposing at least a small but significant and non-transitory increase in price.

       168. Second is the market of commercial payers (i.e., commercial health

 insurers, but not Medicare or Medicaid) competing to buy anesthesiology services

 in Michigan. This is a market of buyers competing for sellers: specifically, health


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 insurers competing to purchase anesthesiologist services. For providers of

 anesthesiology services there is no reasonable alternative to accepting payments

 from commercial health insurers. Because Medicare and Medicaid use conversion

 factors that are essentially below cost, an anesthesiology provider cannot limit his

 or her practice to those public payers. Likewise, an anesthesiologist generally

 cannot rely solely on out-of-pocket payments by patients.

       169. For each of these product markets, the relevant geographic market is

 no larger than the state of Michigan. Michigan does not accept the medical

 licenses of other states and vice-versa. Therefore, a Michigan anesthesiologist is

 limited to practicing in Michigan unless he or she becomes licensed in another

 state. Even if a Michigan anesthesiologist were licensed in a neighboring state, the

 long hours associated with anesthesiology practice (often 60 hours a week) limit

 the amount of time an anesthesiologist can spend commuting. So while some

 Michigan anesthesiologists close to the Ohio border can and do travel to Ohio to

 take advantage of the higher conversion rates in that state, commuting is not an

 option generally available to Michigan anesthesiologists. Services provided at

 hospitals, including anesthesiology services, are also, by their nature, primarily

 local, as people tend to visit hospitals close to where they live and work.




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       170. In the alternative, there may be smaller geographic markets within

 Michigan where the competitive harms from BCBSM’s actions are even more

 severe.

       171. Whether assessed across Michigan or at a smaller level, where

 appropriate, BCBSM possesses market power in each of the product markets: for

 purchasing anesthesiology services; and for selling health insurance. As discussed

 above, BCBSM has monopoly power as a seller of health insurance and

 monopsony power as a buyer of anesthesiology services.

       172. A4 reserves the right to further refine its definitions of the relevant

 product markets and relevant geographic markets as more data and expert analysis

 become available.

    VII. There is No Pro-Competitive Benefit Outweighing the Harms of
         BCBSM’s Conduct.
       173. As discussed above, BCBSM’s conduct has reduced competition

 among commercial insurers in Michigan, reduced the quality and quantity of

 anesthesiology care in Michigan to levels below those needed by consumers, and

 forced consumers to pay higher quality-adjusted prices. In contrast to these

 multiple market harms, BCBSM’s conduct has no pro-competitive benefits.

       174. BCBSM cannot claim that its anti-competitive conduct has resulted in

 lower costs for consumers. BCBSM has used its monopsony and monopoly power

 to create surplus for itself at the expense of consumers and anesthesiologists.


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 BCBSM paid its chief executive officer over $19 million in compensation in 2018,

 more than any other Blue, and more than almost every other insurance company,

 healthcare or otherwise, for-profit or non-profit. BCBSM’s actions have instead

 increased costs to consumers by increasing quality-adjusted prices. Additionally,

 because BCBSM has maintained high premiums through its monopoly power,

 eliminating BCBSM’s anticompetitive actions could lead to both decreased

 quality-adjusted prices and decreased nominal prices for consumers, even as the

 conversion rate for high-quality anesthesiology services increased.

       175. Nor can BCBSM’s exclusionary and retaliatory actions be justified as

 an attempt to prevent balance billing. A4 had made repeatedly clear to BCBSM

 that it would not balance bill BCBSM’s insureds. Even before then, BCBSM

 could have contracted to prevent balance billing without requiring that

 anesthesiologists accept BCBSM’s uniform rate as payment from BCBSM. Thus,

 BCBSM could have taken steps to avoid balance billing without imposing any

 harm to A4. Moreover, as of 2020, balance billing is effectively barred under state

 and federal law, eliminating any need for BCBSM to engage in self-help to address

 balance billing.

    VIII. A4 Has Suffered Damages from BCBSM’s Torts and Antitrust
          Violations.

       176. A4 has suffered significant and ongoing damages caused by

 BCBSM’s tortious and anticompetitive misconduct. By tortiously interfering with


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 the non-solicit and non-compete obligations owed to A4 by Trinity’s hospitals and

 A4’s employees, BCBSM has caused A4 to lose employees and to incur increased

 costs of recruiting and retaining anesthesiologists.

       177. A4 has been paid less for anesthesiology services than it would have

 received absent BCBSM’s violation of the antitrust laws. But for BCBSM’s

 anticompetitive conduct, A4 would be able to negotiate higher reimbursement rates

 for anesthesiology services from BCBSM. Even if A4 were working outside of

 BCBSM’s network, it would be receiving higher payments from BCBSM but for

 BCBSM’s anticompetitive acts, as those actions have pushed down the historic

 (and current) median price for in-network anesthesiology services at BCBSM, and

 under state and federal law, that median price is generally how out-of-network

 payments are calculated. BCBSM’s conduct has also shut out A4 from working in

 MHSM, in Grand Rapids, and Beaumont, in southeastern Michigan, where A4’s

 BCBSM’s artificially low rates are insufficient to cover A4’s costs.

       178. BCBSM’s conduct is destroying A4’s business, including by

 imposing an artificially low rate on A4 and by interfering with A4’s relationships

 with hospitals.

       179. Absent an injunction against BCBSM’s tortious and anticompetitive

 actions, A4 will continue to be harmed and will eventually have to cease doing

 business in Michigan.


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                              CLAIMS FOR RELIEF
                                  First Cause of Action

            Tortious Interference with Contract Under Michigan Law

       180. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       181. In 2019, A4 possessed contracts with MHSM and SJMHS that

 prevented them from soliciting A4’s anesthesiologists to work for MHSM or

 SJMHS, respectively.

       182. BCBSM was aware of both of the contracts with MHSM and SJMHS

 and the non-solicit obligations in those contracts.

       183. While BCBSM was aware of those obligations, and without

 justification, BCBSM coerced and induced MHSM and SJMHS to breach their

 non-solicit obligations to A4.

       184. A4 suffered damages from those breaches of contract, including

 increased costs of recruiting and retaining employees, as well as the loss of

 employees.

                               Second Cause of Action

    Civil Conspiracy to Commit Tortious Interference with Contract Under
                               Michigan Law

       185. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.



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       186. In 2019, A4 possessed contracts with certain of its anesthesiologists,

 which contracts included narrow non-compete restrictions. These restrictions

 prevented A4’s anesthesiologists from leaving A4 to work immediately and

 directly for the hospitals where that doctor was providing services as part of his or

 her employment with A4.

       187. BCBSM was aware of A4’s contracts with its anesthesiologist

 employees and aware of the non-compete provisions in those contracts specifically.

       188. BCBSM, acting through and in concert with Trinity (including its

 MHSM and SJMHS hospitals), induced breaches of those non-compete provisions

 by causing A4 personnel to leave A4 for Trinity.

       189. A4 suffered damages from these breaches of contract, including from

 the loss of employees.

                               Third Cause of Action
              Unlawful and Malicious Threats Under Michigan Law
       190. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       191. In retaliation for A4’s decision to go out-of-network with BCBSM,

 BCBSM threatened Trinity and Beaumont that it would boycott their hospitals in

 Michigan, unless those facilities in turn boycotted A4 and/or forced A4 to comply

 with BCBSM’s demands.



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       192. BCBSM’s threats were unlawful under Michigan law. See Mich.

 Comp. Laws Ann. § 750.213 (no person “shall orally or by any written or printed

 communication maliciously threaten any injury to the person or property . . . of

 another with intent thereby to extort money or any pecuniary advantage whatever,

 or with intent to compel the person so threatened to do or refrain from doing any

 act against his will); Mich. Comp. Laws Ann. § 500.2012.

       193. The acts which BCBSM threatened were unlawful under Michigan

 law and the Sherman Antitrust Act. See Mich. Comp. Laws Ann. § 500.2012

 (prohibiting “any concerted action committing, any act of boycott, coercion or

 intimidation resulting in or tending to result in unreasonable restraint of the

 business of insurance.”); 15 U.S.C. §§ 1-2.

       194. BCBSM’s threats were made with malicious intent.

       195. Trinity and Beaumont responded to BCBSM’s threats by deciding to

 terminate their agreements with A4, thereby forcing A4 to go in-network with

 BCBSM to remain in business.

       196. Trinity’s and Beaumont’s actions against A4 were the intended and

 proximate result of BCBSM’s unlawful threats.

       197. A4 has suffered harm as a result of BCBSM’s threats, including

 increased costs of recruiting and retaining employees, the loss of those employees,

 lost profits, and reduced rates received for anesthesiology services.


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                               Fourth Cause of Action
                                        Duress

       198. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       199. In 2019, A4 had independent contractors who contracted individually

 as in-network providers with BCBSM.

       200. Pursuant to those contracts, BCBSM could not terminate those

 individuals’ provider status without either cause or notice.

       201. When A4 went out of network with BCBSM in 2019, certain of these

 independent contractors chose to remain in-network.

       202. However, in response to A4’s decision to leave BCBSM’s network,

 BCBSM terminated the provider status of these independent contractors without

 cause and without notice.

       203. BCBSM’s terminations constituted breaches of its contracts with

 those independent contractors.

       204. BCBSM subsequently made clear to A4 that BCBSM would remain in

 breach of those contracts unless either the individuals ceased working with A4 or

 A4 went in network.




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       205. BCBSM’s willful breaches placed A4 under unlawful duress to go

 back in-network with BCBSM, by putting A4 in a position where if it remained

 out-of-network it risked losing its independent contractors.

       206. A4 has suffered harm as a result of BCBSM’s duress, including the

 reduced rates received for anesthesiology services.

                                Fifth Cause of Action
             Violation of Section 1 of the Sherman Act (15 U.S.C § 1)

       207. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       208. Plaintiffs bring this claim under Section 4 of the Clayton Act, 15

 U.S.C. § 15, for threefold, or trebled, damages and interest.

       209. BCBSM has entered into a horizontal conspiracy with other Blues

 nationwide. As alleged more specifically above, BCBSM has entered into, as have

 the other Blues, an “amended license agreement,” pursuant to which the Blues

 have divided the country into geographic markets, referred to as service areas, in

 which BCBSM and the Blues will, with limited exceptions, not compete with each

 other. This horizontal conspiracy also requires BCBSM and the other Blues to

 restrict the amount of revenue generated by their non-Blue subsidiaries. This

 output restriction thereby ensures that the Blues do not circumvent the geographic

 restrictions by competing other under brand names. This agreement has no pro-



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 competitive effect, and to the extent any such effect exists, it is outweighed by the

 harms to competition from the agreement. This agreement represents a contract,

 combination, or conspiracy within the meaning of Section 1 of the Sherman Act,

 15 U.S.C. § 1.

       210. As alleged more specifically above, the “amended license agreement”

 also includes an agreement to fix prices and to boycott out-of-service-area

 providers. This agreement has no pro-competitive effect, and to the extent any

 such effect exists, it is outweighed by the harms to competition from the

 agreement. This agreement represents a contract, combination, or conspiracy

 within the meaning of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       211. As a direct and proximate result of BCBSM’s continuing violations of

 Section 1 of the Sherman Act, A4 has suffered and continues to suffer injury and

 damages of the type that the federal antitrust laws were designed to prevent. Such

 injury flows directly from that which makes BCBSM’s conduct unlawful. These

 damages include having been paid less for anesthesiology services, losing

 employees who go to work in other states where anesthesiology rates are higher

 than the artificially repressed rates in Michigan, and in increased costs of recruiting

 and retaining anesthesiologists.




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                               Sixth Cause of Action
  Violation of Section 2 of the Sherman Act (15 U.S.C § 2) – Monopsonization

       212. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       213. Plaintiffs bring this claim under Section 4 of the Clayton Act, 15

 U.S.C. § 15, for threefold or trebled damages and interest.

       214. As alleged more specifically above, BCBSM has engaged in conduct

 by which it has created and maintained monopsony power in the market of insurers

 competing to purchase anesthesiology services in Michigan.

       215. BCBSM created and maintained monopsony power willfully, through

 anticompetitive acts including conspiring with other Blues to restrain trade.

       216. BCBSM’s conduct had the purpose and effect of reducing competition

 in the market for purchasing anesthesiology services in Michigan.

       217. By willfully creating and maintaining monopsony power, BCBSM has

 violated Section 2 of the Sherman Act, 15 U.S.C. § 2, which prohibits

 monopolization of “any part of the trade or commerce among the several States.”

       218. BCBSM’s creation and maintenance of monopsony power have

 resulted in the quality and quantity of anesthesiology care in Michigan being

 reduced and increased quality-adjusted prices for consumers. BCBSM’s actions




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 have no pro-competitive effects, and to the extent any such effect exists, it is

 outweighed by the harms to competition from those actions.

       219. As a direct and proximate result of BCBSM’s continuing violations of

 Section 2 of the Sherman Act, A4 has suffered and will continue to suffer injury

 and damages of the type that the federal antitrust laws were designed to prevent.

 Such injury flows directly from that which makes BCBSM’s conduct unlawful.

 These damages include having been paid less for anesthesiology services, losing

 employees who go to work in other states where anesthesiology rates are higher

 than the artificially repressed rates in Michigan, and increased costs of recruiting

 and retaining anesthesiologists.

                               Seventh Cause of Action

      Violation of Section 2 of the Sherman Act (15 U.S.C § 2) – Attempted
                                 Monopsonization

       220. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       221. Plaintiffs bring this claim under Section 4 of the Clayton Act, 15

 U.S.C. § 15, for threefold or trebled damages and interest.

       222. As alleged more specifically above, BCBSM has engaged in conduct

 by which it has attempted to create or maintain monopsony power in the relevant

 product markets and geographic markets described above.




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          223. BCBSM attempted to create or maintain monopsony power willfully,

 through anticompetitive acts including conspiring with other Blues to restrain

 trade.

          224. BCBSM’s conduct had the purpose and effect of reducing competition

 in the market for purchasing anesthesiology services in Michigan.

          225. By attempting to create or maintain monopsony power, BCBSM has

 violated Section 2 of the Sherman Act, 15 U.S.C. § 2, which prohibits

 monopolization of “any part of the trade or commerce among the several States.”

 Even to the extent BCBSM has not yet created or maintained monopsony power,

 its conduct has created a dangerous risk of success.

          226. BCBSM’s attempts to create or maintain monopsony power have

 resulted in the quality and quantity of anesthesiology care in Michigan being

 reduced and increased quality-adjusted prices for consumers. BCBSM’s actions

 have no pro-competitive effects, and to the extent any such effect exists, it is

 outweighed by the harms to competition from those actions.

          227. As a direct and proximate result of BCBSM’s continuing violations of

 Section 2 of the Sherman Act, A4 has suffered and will continue to suffer injury

 and damages of the type that the federal antitrust laws were designed to prevent.

 Such injury flows directly from that which makes BCBSM’s conduct unlawful.

 These damages include having been paid less for anesthesiology services, losing


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 employees who go to work in other states where anesthesiology rates are higher

 than the artificially repressed rates in Michigan, and increased costs of recruiting

 and retaining anesthesiologists.

                               Eighth Cause of Action

   Claim for Injunctive Relief under Section 16 of the Clayton Act (15 U.S.C
                                     § 26)

       228. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       229. As explained in the Fifth through Seventh Causes of Action, BCBSM

 is violating Sections 1 and 2 of the Sherman Act.

       230. BCBSM’s unlawful conduct threatens to continue to injure A4. A4

 seeks a permanent injunction prohibiting BCBSM from continuing its violations

 and to take appropriate remedial action to correct those violations, including by

 eliminating any remaining effects of those violations.

                                Ninth Cause of Action
                 Claim for Injunctive Relief under Michigan Law

       231. A4 re-alleges and incorporates by reference the allegations set forth in

 the foregoing paragraphs.

       232. As explained in the First through Fourth Causes of Action, BCBSM is

 tortiously interfering with A4’s contracts; conspiring to commit tortious




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 interference with A4’s contracts; and making unlawful and malicious threats aimed

 at preventing A4 from exercising its rights; and imposing duress on A4.

       233. BCBSM’s unlawful conduct threatens to continue to injure A4. A4

 seeks a permanent injunction prohibiting BCBSM from continuing its tortious

 conduct and to take appropriate remedial action to undo the damage from its

 actions, including by eliminating any remaining effects of its tortious conduct.

                             REQUEST FOR RELIEF

       WHEREFORE, Plaintiff A4 respectfully requests that this Court:

       A.     Permanently enjoin BCBSM from interfering with, or conspiring with

 others to interfere with, A4’s agreements with any medical facility or A4 employee;

       B.     Permanently enjoin BCBSM from threatening, directly or indirectly, to

 boycott or steer work away from any medical facility in retaliation for A4 leaving

 BCBSM’s network;

       C.     Permanently enjoin BCBSM from willfully breaching its agreements

 with A4’s independent contractors to impose economic duress on A4;

       D.     Permanently enjoin BCBSM from entering into, honoring, or enforcing

 any agreements that restrain competition among health insurers in Michigan to the

 detriment of anesthesiology providers.

       E.     Permanently enjoining BCBSM from taking anticompetitive actions to

 create or maintain market power in the above product and geographic markets.



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       F.     Permanently enjoin BCBSM from retaliating against A4 or any medical

 facility with which A4 works in response to A4’s participation in this litigation or

 the enforcement of these remedies;

       G.     Declare that BCBSM’s agreements to limit competition among the

 Blues are illegal and unenforceable;

       H.     Award A4 damages for BCBSM’s tortious conduct under Michigan law

 in an amount to be proven at trial;

       I.     Award A4 treble damages for BCBSM’s violations of the Sherman Act

 in an amount to be proven at trial;

       J.     Award costs and attorneys’ fees to A4;

       K.     Award prejudgment interest;

       L.     Award punitive damages to A4 in an amount to be determined at trial;

 and

       M.     Award any such other and further relief as may be just and proper.

                                  JURY DEMAND

 A4 demands a trial by jury on all issues so triable.




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                                     Date: October 7, 2022

                                     Respectfully submitted,


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                          CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that on October 7, 2022, he caused a

 true and correct copy of the foregoing document to be served using the Court’s

 electronic filing system, which will notify all counsel of record authorized to

 receive such filings.



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